GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
     DEBTOR, STREAM TV NETWORKS, INC., CASE NO. 21-10433(KBO)



        The Debtor develops its technology and conducts the majority of its business through its
direct and indirect foreign and domestic subsidiaries. The Debtor provided capital to its direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtor directs interested parties to the Declaration of
Mathu Rajan in Support of First Day Motions [Docket No. 51] in which the Debtor’s
organizational and operational structure is described in greater detail.

        In its bankruptcy schedules, the Debtor discloses and describes the assets, including its
ownership interest in direct subsidiaries and its contracts, that the Debtor owned or may have
owned as of February 24, 2021 (the “Petition Date”). The Debtor’s direct subsidiaries, in turn,
hold or may hold ownership interests in the Debtor’s indirect subsidiaries as depicted on the
Debtor’s Organization Chart included in Mr. Rajan’s Declaration. The assets of the Debtor’s
direct and indirect subsidiaries are not included in the Debtor’s bankruptcy schedules.

        It is important to note that, pursuant to an Omnibus Agreement, dated May 6, 2020,
between the Debtor’s senior secured lender, SLS Holdings VI, LLC (“SLS”) and a debt-
resolution committee of the Debtor’s Board of Directors purporting to act on the Debtor’s behalf,
which agreement is presently subject to litigation in the Chancery Court in Delaware, SLS
Holdings and its newly formed company, SeeCubic, Inc. (“SeeCubic”), assert an ownership
interest in all of the Debtor’s assets. SLS and SeeCubic possess some and claim to have obtained
possession or control of other of the Debtor’s assets shortly before the Petition Date. The
Debtor’s investigation into these claims is ongoing. Accordingly, at this time, the Debtor’s
present ownership of some of its assets may not be clear. The Debtor has listed the assets that it
believes it continues to own, unless otherwise expressly indicated in its bankruptcy schedules.
The Debtor intends to pursue recovery of assets and to operate its business under the provisions
of the Bankruptcy Code in this case.

Additional Notes:

       1.      Because US GAAP treatment may not apply to the Debtor’s assets located in
foreign jurisdictions, the values provided for certain assets may differ from typical accounting
standards.

        2.      Funding advanced by the Debtor to its direct and indirect subsidiaries are
reflected in intercompany loans.

      3.      The Debtor’s goodwill and similar intangible value is not reflected in the Debtor’s
bankruptcy schedules.

      4.       SeeCubic BV (the Netherlands) is a subsidiary of the Debtor, Stream TV
Networks, Inc. SeeCubic BV (the Netherlands) is unrelated to and is a separated entity from
SeeCubic Inc., a company newly formed in Delaware by SLS Holdings VI, LLC.



122187598_1
 Fill in this information to identify the case:

 Debtor name         Stream TV Networks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         21-10433 (KBO)
                                                                                                                                
                                                                                                                                X Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     No.    Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of
                                                                                                                                    debtor's interest

 Part 2:     Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     No.    Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes Fill in the information below.
 11.       Accounts receivable


           11b. Over 90 days old:                               228,101.92   -                        54,896.91 =....                         $173,205.01
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                               $173,205.01
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                        Valuation method used        Current value of
                                                                                                        for current value            debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 1
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 Debtor         Stream TV Networks, Inc.                                                      Case number (If known) 21-10433 (KBO)
                Name

           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Investments in TechnoVative Ventures B.V.                      100           %   Cost                               $25,000.00




           15.2.     Investment in Curacao C.V.                                     100           %   Cost                                 $8,295.96



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                           $33,295.96
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:    Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Dell Computer Servers                                                            $0.00                                          Unknown


           See attached schedule                                                            $0.00     Net Book Value                   $105,981.38



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $105,981.38
           Add lines 39 through 42. Copy the total to line 86.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Stream TV Networks, Inc.                                                      Case number (If known) 21-10433 (KBO)
                Name



 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See attached schedule.                                                           $0.00    Net Book Value                   $5,405,205.26



 51.       Total of Part 8.                                                                                                      $5,405,205.26
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Stream TV Networks, Inc.                                                     Case number (If known) 21-10433 (KBO)
                Name

            55.1.    2009 Chestnut Street,
                     3rd Floor,
                     Philadelphia, PA                     Leased Office
                     19103                                Space                             $0.00                                                    $0.00


            55.2.
                     2726 Bayview Drive,
                     Fremont, CA 94538                    Leased Office                     $0.00                                                    $0.00


            55.3.    No.1-B Factory,
                     High-tech Zone,
                     Suzhou City, Jiangsu
                     Province, China                      Leased Factory                    $0.00                                                    $0.00




 56.        Total of Part 9.                                                                                                                      $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                         84,570,628.18 -                                  0.00 =
            See attached.                                             Total face amount    doubtful or uncollectible amount             $84,570,628.18



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)
            Federal NOL carryforward-not reflected on Company
            Balance Sheet                                                                      Tax year 2018                           $118,566,740.00



 73.        Interests in insurance policies or annuities

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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 Debtor         Stream TV Networks, Inc.                                                     Case number (If known) 21-10433 (KBO)
                Name

           Workers Compensation and Employers' Liability Policy
           The Hartford Business Service Center
           3600 Wiseman Blvd
           San Antonio, TX 78251
           Policy No. 38 WEC AK3D7R                                                                                                             $0.00


           Business General Liability Insurance
           Hartford Underwriters Insurance Company, a property
           and casualty company of The Hartford
           One Hartford Plaza
           Hartford, CT 06155
           Policy No. 38 SBM AK3C0R                                                                                                             $0.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Interest in SeeCubic, Inc. with no attributable value                                                                                $0.00




 78.       Total of Part 11.                                                                                                  $203,137,368.18
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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 Debtor          Stream TV Networks, Inc.                                                                            Case number (If known) 21-10433 (KBO)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $173,205.01

 83. Investments. Copy line 17, Part 4.                                                                             $33,295.96

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $105,981.38

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $5,405,205.26

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +          $203,137,368.18

 91. Total. Add lines 80 through 90 for each column                                                     $208,855,055.79              + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                             $208,855,055.79




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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SCHEDULE A/B EXHIBIT

     Question 41
Office Furniture and Fixtures Detail Line 41 on Schedule AB


                                                                                                                                                                           Placed in
GL Account                                                                                                     Asset Description                               Asset #      Service     Amount
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge VRTX Rack - Finance Lease # 001-9026263-001       STV-CM-00001     1/1/2019     10,487.46
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge M640 (1 of 2) - Finance Lease # 001-9026263-001   STV-CM-00002     1/1/2019     19,449.58
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge M640 (2 of 2) - Finance Lease # 001-9026263-001   STV-CM-00003     1/1/2019     19,449.58
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge R440 (1 of 3) - Finance Lease # 003-9026263-002   STV-CM-00004   3/31/2019      18,864.92
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge R440 (2 of 3) - Finance Lease # 003-9026263-002   STV-CM-00005   3/31/2019      18,864.92
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge R440 (3 of 3) - Finance Lease # 003-9026263-002   STV-CM-00006   3/31/2019      18,864.92
                                                                        Total Office Furniture & Fixtures (Net of Accumulated Appreciation)                                              105,981.38
SCHEDULE A/B EXHIBIT

     Question 50
Machinery & Equipment Detail Line 50 Schedule AB
Account 1300-00-00                                                                                    $               2,300,162.29
Account 1300-00-11                                                                                    $               9,244,165.24
Account 1300-00-13                                                                                    $                 737,106.52
Account 1400-50-10                                                                                    $                 184,861.51
Historic Account Credits                                                                              $                (483,954.00)
Total Gross                                                                                           $              11,982,341.56

Accumulated Depreciation                                                                              $              (6,577,136.30)

Total Net                                                                                             $               5,405,205.26

GL Account                                                           Asset Description                          Asset #                  Placed in Service
1300-00-00 Machinery, Furniture & Fixures   Cleanroom(Full Option1)                                         STV-ME-00001                           11/1/2015
1300-00-00 Machinery, Furniture & Fixures   Electric Power Syetem                                           STV-ME-00002                           11/1/2015
1300-00-00 Machinery, Furniture & Fixures   LCM BLU Line & LCM BLU Line Equipment                           STV-ME-00003                           11/1/2015
1300-00-00 Machinery, Furniture & Fixures   Coretronics Tooling                                             STV-ME-00008                            5/1/2016
1300-00-00 Machinery, Furniture & Fixures   Pegatron Chaisse -Accrued 2016                                  STV-ME-00009                            5/1/2016

 Subtotal


1300-00-11 Iinuma Machines                  Mass Production Unit                                            STV-ME-00010                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Unit - VAT                                      STV-ME-00011                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Line : Installation - Accrued 2016              STV-ME-00012                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Unit : Passive Alignment - Accrued 2016         STV-ME-00013                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Unit : Temp Control - Accrued 2016              STV-ME-00014                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Unit - Accrued AP 2016                          STV-ME-00015                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Unit - Accrued 2016                             STV-ME-00016                            5/1/2016
 Subtotal


1300-00-13 Small Production Unit            Small Production Unit                                           STV-ME-00004                           11/1/2015
1300-00-13 Small Production Unit            Small Production Unit - VAT                                     STV-ME-00005                           11/1/2015
1300-00-13 Small Production Unit            Small Production Unit                                           STV-ME-00006                           11/1/2015
1300-00-13 Small Production Unit            Small Production Unit                                           STV-ME-00007                           11/1/2015
 Subtotal




1400-00-00 Other Asset
 1400-50-10 - CIP Fixed Asset
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            20190222014                     03/06/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            20190222014                     03/06/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019100008                    10/09/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019100006                    10/09/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019100006                    10/09/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019100008                    10/09/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA201911060034                  11/06/2019
Total for 1400-50-10 - CIP Fixed Asset
SCHEDULE A/B EXHIBIT

     Question 71
                                                                                         Notes Receivables for Schedule A/B
                                                                                                    1410-10-00 Loans Receivable
                                                                                                  Foreign                                        Balance                                                      Exchange
   Date        Ref No.          Payee                                  Memo                      Currency   Decrease (USD)    Increase (USD)      (USD)         Type               Account         Location     Rate
             WireRef#51
             185Q2019T
04/07/2020   3          SeeCubic B.V.                Funding of working capital to SeeCubic                                  16,404.06         85,197,984.06 Expense   1001-00-71 HSBC Bank 9207
                                                     Loan with SeeCubic - Record Q4 2019
01/15/2020   2149                                    interest expense/(income)                                               69,278.58         85,160,858.70 Journal
                                                     Loan with SeeCubic - Record Q4 2019
                                                     revalue of foreign denominated
01/15/2020   2149                                    accumulated interest balance                                            30,590.64         85,091,580.12 Journal
                                                     Loan with SeeCubic - Record Q4 2019
                                                     revalue of foreign denominated principal
01/15/2020   2149                                    balance                                                                 73,259.87         85,060,989.48 Journal
                                                     Loan with Ultra-D (1) - Record Q4 2019
01/15/2020   2149                                    interest expense/(income)                                               787,835.47        84,987,729.61 Journal
                                                     Loan with Ultra-D (2) - Record Q4 2019
01/15/2020   2149                                    interest expense/(income)                                               3,686.83          84,199,894.14 Journal                                                     Account 1410-10-00 Loans Receivable New Bal.   $ 84,251,726.43
                                                     Loan with STVI - Record Q4 2019 interest
01/15/2020   2149                                    expense/(income)                                                        98,512.63         84,196,207.31 Journal
             Wire#51835
12/26/2019   N400LS7       Ultra-D Ventures CV       Funding of working capital to CV-Bank fee                               113.89            84,009,504.62 Expense   1001-00-72 HSBC Bank 9215                         Mediatainment Note                             $   318,901.75
             Transfer#80
             955N4008K                               Funding of working capital to SC HSBC
12/26/2019   L             SeeCubic B.V.             Account                                                                 1,708.41          84,009,390.73 Expense   1001-00-71 HSBC Bank 9207                         Balance Per Amended MOR/Schedule A/B           $ 84,570,628.18
             Transfer#73
             405N400ZS     Stream TV International
12/24/2019   H             B.V.                      Funding of working capital to STVI                                      23,131.10         84,007,682.32 Expense   1001-00-71 HSBC Bank 9207
             Transfer#70
             685N400BU     Ultra-D Cooperatief
12/24/2019   A             U.A.i.o.                  Funding of working capital to Ultra-D                                   455.59            83,984,551.22 Expense   1001-00-71 HSBC Bank 9207
             Transfer#83
             715MZ023G     Stream TV International
12/19/2019   C             B.V.                      Funding of working capital for STVI                                     14,866.72         83,983,010.46 Expense   1001-00-71 HSBC Bank 9207
             Transfer#42
             925MZ01PP     Stream TV International
12/19/2019   0             B.V.                      Funding of working capital to STVI                                      26,000.00         83,968,143.74 Expense   1001-00-71 HSBC Bank 9207

             Transfer#45 Ultra-D Cooperatief         Funding of working capital to Ultra-D for
12/19/2019   805MZ020IS U.A.i.o.                     SC Payroll                                                              79,010.40         83,942,143.74 Expense   1001-00-71 HSBC Bank 9207

             Transfer#25   Ultra-D Cooperatief
12/13/2019   005MT023ZI    U.A.i.o.                  Funding of working capital for SC                                       45,397.28         83,862,197.48 Expense   1001-00-72 HSBC Bank 9215
             Transfer#48
             925MS01FJ     Stream TV International
12/13/2019   P             B.V.                      Funding of working capital to STVI                                      8,125.55          83,816,800.20 Check     1001-00-72 HSBC Bank 9215
             Transfer#18
             855MD00JH     Stream TV International
11/27/2019   R             B.V.                      Funding of working capital to STVI                                      9,264.65          83,808,674.65 Expense   1001-00-72 HSBC Bank 9215
             Transfer#23
             085MD01H1     Stream TV International
11/27/2019   2             B.V.                      Funding of working capital to STVI                                      5,000.00          83,799,410.00 Expense   1001-00-72 HSBC Bank 9215
             Transfer#64
             965M801X7     Stream TV International
11/22/2019   8             B.V.                      Funding of working capital to STVI                                      39,389.81         83,794,410.00 Expense   1001-00-72 HSBC Bank 9215

             Transfer#18   Stream TV International
11/22/2019   455M801W      B.V.                      Funding of working capital to STVI                                      8,000.00          83,755,020.19 Expense   1001-00-72 HSBC Bank 9215
             Transfer#22
             915M801K1     Ultra-D Cooperatief
11/22/2019   1             U.A.i.o.                  Funding of working capital to SC                                        89,618.64         83,747,020.19 Expense   1001-00-72 HSBC Bank 9215
             Transfer#86
             235M501LY     Ultra-D Cooperatief
11/19/2019   9             U.A.i.o.                  Funding of working capital for SC                                       45,215.68         83,657,401.55 Expense   1001-00-71 HSBC Bank 9207
             Transfer#14
             075M100ZL     Ultra-D Cooperatief
11/18/2019   4             U.A.i.o.                  Funding of working capital to SC                                        56,124.93         83,612,185.87 Expense   1001-00-72 HSBC Bank 9215
             Transfer#46
             245M101UT     Stream TV International
11/18/2019   5             B.V.                      Funding of working capital for STVI                                     19,979.22         83,556,060.94 Expense   1001-00-72 HSBC Bank 9215
             Transfer#59
             245LS001K     Stream TV International
11/06/2019   3             B.V.                      Funding of working capital to STVI                                      4,549.67          83,536,081.72 Expense   1001-00-72 HSBC Bank 9215
             Transfer#76
             375LS011O     Ultra-D Cooperatief
11/06/2019   L             U.A.i.o.                  Funding of working capital to SeeCubic                                  39,519.45         83,531,532.05 Expense   1001-00-72 HSBC Bank 9215
             Transfer#14
             165LL0123     Stream TV International
10/30/2019   R             B.V.                      Funding of working capital for STVI                     63,174.78    83,492,012.60 Expense   1001-00-72 HSBC Bank 9215
             Transfer#00
             485LK000Y     Stream TV International
10/29/2019   V             B.V.                      Funding of working capital to STVI                      9,256.50     83,428,837.82 Expense   1001-00-72 HSBC Bank 9215
             Transfer#65
             115LK01VQ     Stream TV International
10/29/2019   1             B.V.                      Funding of working capital to STVI                      5,000.00     83,419,581.32 Expense   1001-00-72 HSBC Bank 9215
             Transfer#19
             845LE021E     Stream TV International
10/23/2019   3             B.V.                      Funding of working capital to STVI                      20,512.52    83,414,581.32 Expense   1001-00-72 HSBC Bank 9215
             Transfer#15
             945LD01RX     Stream TV International
10/22/2019   A             B.V.                      Funding of working capital to STVI                      10,000.00    83,394,068.80 Expense   1001-00-72 HSBC Bank 9215
             Transfer#44
             495LD00AU     Stream TV International
10/22/2019   K             B.V.                      Funding of working capital to STVI                      14,551.02    83,384,068.80 Expense   1001-00-72 HSBC Bank 9215
             Transfer#42
             815LD0154                               Funding of working capital to SeeCubic
10/22/2019   P             SeeCubic B.V.             HSBC account                                            2,287.41     83,369,517.78 Expense   1001-00-72 HSBC Bank 9215
             Transfer#07
             565LD01BY     Ultra-D Cooperatief
10/22/2019   T             U.A.i.o.                  Funding of working capital for SeeCubic                 134,738.40   83,367,230.37 Expense   1001-00-71 HSBC Bank 9207

             Transfer#40   Stream TV International
10/15/2019   565L600LYJ    B.V.                      Funding of working capital to STVI                      20,331.01    83,232,491.97 Expense   1001-00-72 HSBC Bank 9215
             Transfer#79
             795KZ00NR     Stream TV International
10/08/2019   2             B.V.                      Funding of working capital to STVI                      8,794.25     83,212,160.96 Expense   1001-00-71 HSBC Bank 9207
             Transfer#19
             085KZ018U     Ultra-D Cooperatief
10/08/2019   9             U.A.i.o.                  Funding of working capital to Ultra-D                   185,498.38   83,203,366.71 Expense   1001-00-71 HSBC Bank 9207
             Transfer#42
             015KZ01K9     Stream TV International
10/08/2019   N             B.V.                      Funding of working capital for STVI                     100,104.57   83,017,868.33 Expense   1001-00-71 HSBC Bank 9207
             Transfer#12
             535KY01BC     Stream TV International
10/07/2019   H             B.V.                      Funding of working capital for STVI                     5,500.00     82,917,763.76 Expense   1001-00-72 HSBC Bank 9215
             Transfer#39
             005KV00Z2     Ultra-D Cooperatief
10/04/2019   F             U.A.i.o.                  Funding of working capital for SC                       22,402.26    82,912,263.76 Expense   1001-00-72 HSBC Bank 9215
             Transfer#16
             645KS00NB     Ultra-D Cooperatief
10/01/2019   Q             U.A.i.o.                  Funding of working capital to SC                        22,315.04    82,889,861.50 Expense   1001-00-72 HSBC Bank 9215
             Transfer#01
             615KS00BP     Stream TV International
10/01/2019   4             B.V.                      Funding of working capital to STVI                      4,000.00     82,867,546.46 Expense   1001-00-72 HSBC Bank 9215
             Transfer#31
             215KS00GZ     Stream TV International
10/01/2019   D             B.V.                      Funding of working capital to STVI                      13,909.86    82,863,546.46 Expense   1001-00-72 HSBC Bank 9215
                                                     Loan with SeeCubic - Record Q3 2019
09/30/2019   2144                                    interest expense/(income)                               66,549.06    82,849,636.60 Journal
                                                     Loan with SeeCubic - Record Q3 2019
                                                     revalue of foreign denominated
09/30/2019   2144                                    accumulated interest balance               41,617.02                 82,783,087.54 Journal
                                                     Loan with SeeCubic - Record Q3 2019
                                                     revalue of foreign denominated principal
09/30/2019   2144                                    balance                                    106,636.86                82,824,704.56 Journal
                                                     Loan with Ultra-D (1) - Record Q3 2019
09/30/2019   2144                                    interest expense/(income)                               759,483.28   82,931,341.42 Journal
                                                     Loan with Ultra-D (2) - Record Q3 2019
09/30/2019   2144                                    interest expense/(income)                               3,686.83     82,171,858.14 Journal
                                                     Loan with STVI - Record Q3 2019 interest
09/30/2019   2144                                    expense/(income)                                        85,849.51    82,168,171.31 Journal
             Transfer#33
             595KH00P8 Ultra-D Cooperatief
09/20/2019   9           U.A.i.o.                    Funding of working capital for Ultra-D                  1,698.26     82,082,321.80 Expense   1001-00-71 HSBC Bank 9207
             Transfer#17
             435KH015H
09/20/2019   Z           SeeCubic B.V.               Funding of working capital for SeeCubic                 1,698.30     82,080,623.54 Expense   1001-00-71 HSBC Bank 9207

             Transfer#89   Stream TV International
09/20/2019   975KH00I0H    B.V.                      Funding of working capital for STVI                     3,844.96     82,078,925.24 Expense   1001-00-71 HSBC Bank 9207
             Transfer#85
             955KH00LV     Stream TV International
09/20/2019   1             B.V.                      Funding of working capital for STVI                     6,000.00     82,075,080.28 Expense   1001-00-71 HSBC Bank 9207
             Transfer#39
             375KH00P8     Stream TV International
09/20/2019   A             B.V.                      Funding of working for STVI                 37,097.02    82,069,080.28 Expense   1001-00-71 HSBC Bank 9207
             Transfer#19
             985KF00O1     Ultra-D Cooperatief
09/18/2019   V             U.A.i.o.                  Funding of working capital for SeeCubic     133,826.64   82,031,983.26 Expense   1001-00-71 HSBC Bank 9207
             Transfer#68
             285KF01LU     Stream TV International
09/18/2019   J             B.V.                      Funding of working capital to STVI          11,939.64    81,898,156.62 Expense   1001-00-71 HSBC Bank 9207
             Transfer#81
             285KF00JF     Stream TV International
09/18/2019   O             B.V.                      Funding of working capital for STVI         16,179.43    81,886,216.98 Expense   1001-00-71 HSBC Bank 9207
             Transfer#56
             895K600BO     Ultra-D Cooperatief
09/09/2019   D             U.A.i.o.                  Funding of working capital for SeeCubic     67,321.74    81,870,037.55 Expense   1001-00-72 HSBC Bank 9215
             Transfer#00
             125K6015S     Stream TV International
09/09/2019   F             B.V.                      Funding of working capital for STVI         22,671.36    81,802,715.81 Expense   1001-00-72 HSBC Bank 9215
             Transfer#71
             095K000W      Stream TV International
09/03/2019   Q4            B.V.                      Funding of working capital for STVI         15,644.20    81,780,044.45 Expense   1001-00-72 HSBC Bank 9215
             Transfer#14
             355JW018K                               Funding of working capital to SC HSBC
08/30/2019   1             SeeCubic B.V.             account                                     1,134.62     81,764,400.25 Expense   1001-00-72 HSBC Bank 9215
             Transfer#27
             495JW00ZG     Ultra-D Cooperatief
08/30/2019   D             U.A.i.o.                  Funding of working capital to Ultra-D       1,135.02     81,763,265.63 Expense   1001-00-72 HSBC Bank 9215
             Transfer#18
             035JS001Z     Ultra-D Cooperatief       Funding of working capital for SC through
08/26/2019   S             U.A.i.o.                  Ultra-D                                     139,854.85   81,762,130.61 Expense   1001-00-71 HSBC Bank 9207
             Transfer#42
             055JS01B9     Stream TV International
08/26/2019   4             B.V.                      Funding of working capital for STVI         11,343.45    81,622,275.76 Expense   1001-00-72 HSBC Bank 9215
             Transfer#72
             305JS01V5     Stream TV International
08/26/2019   Y             B.V.                      Funding of working capital to STVI          12,000.00    81,610,932.31 Expense   1001-00-72 HSBC Bank 9215

             Transfer#81 Stream TV International
08/26/2019   425JS00YYI B.V.                         Funding of working capital for STVI         104,155.16   81,598,932.31 Expense   1001-00-72 HSBC Bank 9215

             Transfer#35   Stream TV International
08/16/2019   825JI00LUL    B.V.                      Funding of working capital for STVI         14,984.21    81,494,777.15 Expense   1001-00-72 HSBC Bank 9215
             Transfer#29
             775JE01JB     Stream TV International
08/12/2019   B             B.V.                      Funding of working capital for STVI         2,484.32     81,479,792.94 Expense   1001-00-72 HSBC Bank 9215
             Transfer#85
             755JE019H     Stream TV International
08/12/2019   Z             B.V.                      Funding of working capital for STVI         5,000.00     81,477,308.62 Expense   1001-00-72 HSBC Bank 9215

             Transfer#54   Ultra-D Cooperatief
08/12/2019   155JE010JB    U.A.i.o.                  Funding of working capital for Ultra-D      1,728.65     81,472,308.62 Expense   1001-00-72 HSBC Bank 9215
             Transfer#64
             995JB017S     Ultra-D Cooperatief
08/09/2019   7             U.A.i.o.                  Funding of working capital for SC           73,954.08    81,470,579.97 Expense   1001-00-72 HSBC Bank 9215
             Transfer#61
             565JB00WO     Ultra-D Cooperatief
08/09/2019   4             U.A.i.o.                  Funding of working capital for SC           112,925.90   81,396,625.89 Expense   1001-00-72 HSBC Bank 9215

             Transfer#35
07/29/2019   275J001XJZ SeeCubic B.V.                Funding of working capital to SeeCubic      1,145.61     81,283,699.99 Expense   1001-00-72 HSBC Bank 9215
             Transfer#13
             465J001NL Stream TV International
07/29/2019   K           B.V.                        Funding of working capital to STVI          7,539.10     81,282,554.38 Expense   1001-00-72 HSBC Bank 9215

             Transfer#03 Stream TV International
07/24/2019   855IV002XI B.V.                         Funding of working capital to STVI          11,541.11    81,275,015.28 Expense   1001-00-72 HSBC Bank 9215
                         Ultra-D Cooperatief
07/17/2019   TEST        U.A.i.o.                    Ultra-D EURO 145,000                        164,024.73   81,263,474.17 Check     1001-00-72 HSBC Bank 9215

             Transfer#21 Stream TV International
07/16/2019   015IN00GVL B.V.                         Funding of working capital to STVI          7,000.00     81,099,449.44 Expense   1001-00-72 HSBC Bank 9215

             Transfer#50   Stream TV International
07/16/2019   215IN00TFP    B.V.                      Funding of working capital to STVI          24,053.92    81,092,449.44 Expense   1001-00-72 HSBC Bank 9215
             Transfer#62
             485IN00O9     Stream TV International
07/16/2019   C             B.V.                      Funding of working capital for STVI         38,883.35    81,068,395.52 Expense   1001-00-72 HSBC Bank 9215
             Transfer#32
07/13/2019   045IK0047J SeeCubic B.V.                Funding of working capital to SeeCubic      107,987.63   81,029,512.17 Expense   1001-00-71 HSBC Bank 9207
             Transfer#41
             565IM020M
07/12/2019   0           Ultra-D Ventures CV         Funding of working capital to CV            2,315.61     80,921,524.54 Expense   1001-00-72 HSBC Bank 9215

             Transfer#44   Ultra-D Cooperatief
07/12/2019   055IJ00G68    U.A.i.o.                  Funding of working capital                  106,237.23   80,919,208.93 Expense   1001-00-72 HSBC Bank 9215
             Transfer#69
             355IJ01UW     Stream TV International
07/12/2019   X             B.V.                      Funding of working capital for STVI         20,692.45    80,812,971.70 Expense   1001-00-72 HSBC Bank 9215

             Transfer#67 Stream TV International
07/10/2019   415IH014SN B.V.                         Funding of working capital for STVI         12,211.57    80,792,279.25 Expense   1001-00-72 HSBC Bank 9215

             Transfer#74 Ultra-D Cooperatief
07/10/2019   145IH00XLG U.A.i.o.                     Funding of working capital for SC           91,412.96    80,780,067.68 Expense   1001-00-72 HSBC Bank 9215

             Transfer#88 Stream TV International
07/05/2019   165IC0087T B.V.                         Funding of working capital to STVI          75,211.95    80,688,654.72 Expense   1001-00-71 HSBC Bank 9207

             Transfer#34 Ultra-D Cooperatief         Funding of working capital for SeeCubic =
07/05/2019   845IC005FG U.A.i.o.                     120,000.00 EUR                              135,737.40   80,613,442.77 Expense   1001-00-71 HSBC Bank 9207

             Transfer#34 Ultra-D Cooperatief         Funding of working capital for Ultra-D
07/05/2019   845IC005FG U.A.i.o.                     Coop = 1,000.00 EUR                         1,131.15     80,477,705.37 Expense   1001-00-71 HSBC Bank 9207
                                                     Loan with SeeCubic - Record Q2 2019
06/30/2019   2143                                    interest expense/(income)                   59,196.93    80,476,574.22 Journal
                                                     Loan with SeeCubic - Record Q2 2019
                                                     revalue of foreign denominated
06/30/2019   2143                                    accumulated interest balance                12,511.45    80,417,377.29 Journal
                                                     Loan with SeeCubic - Record Q2 2019
                                                     revalue of foreign denominated principal
06/30/2019   2143                                    balance                                     30,253.98    80,404,865.84 Journal
                                                     Loan with Ultra-D (1) - Record Q2 2019
06/30/2019   2143                                    interest expense/(income)                   737,169.34   80,374,611.86 Journal
                                                     Loan with Ultra-D (2) - Record Q2 2019
06/30/2019   2143                                    interest expense/(income)                   3,686.83     79,637,442.52 Journal
                                                     Loan with STVI - Record Q2 2019 interest
06/30/2019   2143                                    expense/(income)                            76,359.19    79,633,755.69 Journal

             Transfer#09
06/27/2019   415I400X9D Ultra-D Ventures CV          Funding of working capital to CV            175.30       79,557,396.50 Expense   1001-00-72 HSBC Bank 9215

             Transfer#16 Stream TV International
06/27/2019   685I400MAB B.V.                         Funding of working capital to STVI          8,470.84     79,557,221.20 Expense   1001-00-72 HSBC Bank 9215

             Transfer#25   Stream TV International
06/27/2019   295I4003AP    B.V.                      Funding of working capital to STVI          2,921.18     79,548,750.36 Expense   1001-00-72 HSBC Bank 9215
             Transfer#10
             145HY0076     Stream TV International
06/21/2019   U             B.V.                      Funding of working capital to STVI          7,000.00     79,545,829.18 Expense   1001-00-72 HSBC Bank 9215
             Transfer#02
             955HY01W      Stream TV International
06/21/2019   NF            B.V.                      Funding of working capital to STVI          35,947.20    79,538,829.18 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#43425H    Ultra-D Cooperatief
06/18/2019   N07ZKZ        U.A.i.o.                  Funding of working capital for SeeCubic     191,825.28   79,502,881.98 Check     1001-00-72 HSBC Bank 9215
             Wire
             Ref#43425H    Ultra-D Cooperatief
06/13/2019   N06ZKZ        U.A.i.o.                  Funding of working capital for SC           159,043.08   79,311,056.70 Check     1001-00-72 HSBC Bank 9215
             Wire
             Ref#43425H    Ultra-D Cooperatief
06/12/2019   N05ZKZ        U.A.i.o.                  Working capital for SC Operations           114,011.30   79,152,013.62 Check     1001-00-72 HSBC Bank 9215
             Wire
             Ref#43425H    Stream TV International
06/12/2019   N04ZKZ        B.V.                      Funding of STVI working capital             19,622.88    79,038,002.32 Check     1001-00-72 HSBC Bank 9215
             Wire
             Ref#43425H    Stream TV International
06/10/2019   N01ZKZ        B.V.                      Funding of working capital for STVI         81,572.26    79,018,379.44 Expense   1001-00-72 HSBC Bank 9215
             Transfer#89
             925HD01N      Stream TV International
05/31/2019   M6            B.V.                      Funding of working capital for STVI         18,173.65    78,933,886.48 Expense   1001-00-72 HSBC Bank 9215
             Transfer#55
             465H201P3     Ultra-D Cooperatief
05/21/2019   L             U.A.i.o.                  Funding of working capital for SeeCubic     73,584.56    78,915,712.83 Expense   1001-00-72 HSBC Bank 9215
             Transfer#15
             545GZ00W                                Funding of SC HSBC account working
05/17/2019   DX            SeeCubic B.V.             capital                                                1,147.40     78,842,128.27 Expense   1001-00-72 HSBC Bank 9215
             Transfer#03
             795GX01W                                Funding of SeeCubic working capital
05/15/2019   NY            SeeCubic B.V.             payroll                                                293,428.53   78,840,980.87 Expense   1001-00-72 HSBC Bank 9215
             Transfer#41
             485GL00MK     Stream TV International
05/03/2019   V             B.V.                      Funding of working capital for STVI                    22,822.56    78,467,372.76 Expense   1001-00-72 HSBC Bank 9215
             Transfer#12
             985GL00EE     Stream TV International
05/03/2019   F             B.V.                      Funding of working capital to STVI                     5,000.00     78,444,550.20 Expense   1001-00-72 HSBC Bank 9215
             Transfer#10
             045GJ00RG     Ultra-D Cooperatief
05/01/2019   R             U.A.i.o.                  Working capital for SC Operations                      34,275.67    78,439,550.20 Expense   1001-00-72 HSBC Bank 9215
             Transfer#49
             445GB008V     Ultra-D Cooperatief       Funding of working capital for SC HSBC
04/23/2019   5             U.A.i.o.                  Account                                                1,151.60     78,405,274.53 Expense   1001-00-72 HSBC Bank 9215
             Transfer#55
             585G4019M
04/16/2019   I             Ultra-D Ventures CV       Funding of working capital to CV                       1,277.82     78,404,122.93 Expense   1001-00-72 HSBC Bank 9215
             Transfer#45
             185G300JF     Stream TV International
04/16/2019   T             B.V.                      Funding of working capital to STVI                     7,000.00     78,402,845.11 Expense   1001-00-72 HSBC Bank 9215
             Transfer#61
             515G40127     Stream TV International
04/16/2019   C             B.V.                      Funding of working capital to STVI                     21,321.79    78,395,845.11 Expense   1001-00-72 HSBC Bank 9215
             Transfer#19
             445G4015J     Stream TV International
04/16/2019   6             B.V.                      Funding of working capital to STVI                     16,261.18    78,374,523.32 Expense   1001-00-72 HSBC Bank 9215
             Transfer#34
             495FZ01A6     Ultra-D Cooperatief
04/11/2019   D             U.A.i.o.                  Funding of working capital for SeeCubic                215,775.21   78,358,262.14 Expense   1001-00-72 HSBC Bank 9215
             Transfer#13
             695FS01ZO     Ultra-D Cooperatief
04/04/2019   C             U.A.i.o.                  Funding of working capital to Ultra-D                  21,749.49    78,142,486.93 Expense   1001-00-72 HSBC Bank 9215
             Transfer#46
             135FS01P5     Stream TV International
04/04/2019   W             B.V.                      Funding of working capital for STVI                    18,809.42    78,120,737.44 Expense   1001-00-72 HSBC Bank 9215
                                                     Loan with SeeCubic - Record Q1 2019
03/31/2019   2142                                    interest expense/(income)                              59,658.76    78,101,928.02 Journal
                                                     Loan with SeeCubic - Record Q1 2019
                                                     revalue of foreign denominated
03/31/2019   2142                                    accumulated interest balance               17,872.14                78,042,269.26 Journal
                                                     Loan with SeeCubic - Record Q1 2019
                                                     revalue of foreign denominated principal
03/31/2019   2142                                    balance                                    43,787.47                78,060,141.40 Journal
                                                     Loan with Ultra-D (1) - Record Q1 2019
03/31/2019   2142                                    interest expense/(income)                              708,879.47   78,103,928.87 Journal
                                                     Loan with Ultra-D (2) - Record Q1 2019
03/31/2019   2142                                    interest expense/(income)                              3,686.83     77,395,049.40 Journal
                                                     Loan with STVI - Record Q1 2019 interest
03/31/2019   2142                                    expense/(income)                                       64,247.10    77,391,362.57 Journal
             Transfer#63
             595FF0219     Ultra-D Cooperatief
03/25/2019   A             U.A.i.o.                  Funding of working capital for SC                      125,468.31   77,327,115.47 Expense   1001-00-72 HSBC Bank 9215
             Transfer#68
             135FC005Q     Ultra-D Cooperatief
03/19/2019   6             U.A.i.o.                  Funding of working capital for Ultra-D                 583.25       77,201,647.16 Expense   1001-00-72 HSBC Bank 9215
             Tranfers#13
             235FC01CP     Stream TV International
03/19/2019   8             B.V.                      Funding of working capital for STVI                    8,000.00     77,201,063.91 Expense   1001-00-72 HSBC Bank 9215
             Transfer#58
             235FC0142     Stream TV International
03/19/2019   0             B.V.                      Funding of working capital for STVI                    7,474.57     77,193,063.91 Expense   1001-00-72 HSBC Bank 9215
             Transfer#19
             875FD00JL     Stream TV International
03/19/2019   7             B.V.                      Funding of working capital for STVI                    185,405.27   77,185,589.34 Expense   1001-00-72 HSBC Bank 9215
             Transfer#38
             615F600LK     Ultra-D Cooperatief
03/13/2019   B             U.A.i.o.                  Funding of working capital for SeeCubic                68,879.52    77,000,184.07 Expense   1001-00-72 HSBC Bank 9215
             Transfer#16
             155F001Q0     Stream TV International
03/07/2019   1             B.V.                      Funding of STVI Working Capital                        10,749.97    76,931,304.55 Expense   1001-00-72 HSBC Bank 9215
             Transfer#69                             Funding of SC working capital - Payment
             585EZ014F     Ultra-D Cooperatief       2 of 2 (110,000.00 EUR of 210,000.00
03/06/2019   S             U.A.i.o.                  EUR)                                                   125,410.23   76,920,554.58 Expense   1001-00-72 HSBC Bank 9215
             Transfer#03                             Funding of SC working capital - Payment
             975EY020B     Ultra-D Cooperatief       1 of 2 (100,000.00 EUR of 210,000.00
03/05/2019   R             U.A.i.o.                  EUR)                                                   113,819.90   76,795,144.35 Expense   1001-00-72 HSBC Bank 9215
             Transfer#74
             475EN01X4     Stream TV International
02/22/2019   9             B.V.                      Funding of working capital                             10,076.25    76,681,324.45 Expense   1001-00-72 HSBC Bank 9215

             Transfer#04   Stream TV International
02/20/2019   265EL00942    B.V.                      Funding of working capital                             2,921.00     76,671,248.20 Expense   1001-00-72 HSBC Bank 9215
             Transfer#15
             025EL015J     Ultra-D Cooperatief
02/20/2019   K             U.A.i.o.                  Funding of working capital                             3,504.30     76,668,327.20 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#50955E                              Funding of working capital to Ultra-D
02/08/2019   901XDH        Ultra-D Ventures CV       Ventures C.V.                                          3,495.39     76,664,822.90 Expense   1001-00-72 HSBC Bank 9215
             Transfer#45
             845E800ZM     Ultra-D Cooperatief
02/07/2019   H             U.A.i.o.                  Funding of SC working capital                          205,891.56   76,661,327.51 Expense   1001-00-72 HSBC Bank 9215
             Transfer#76
             535E801KP     Stream TV International
02/07/2019   N             B.V.                      Funding of STVI working capital                        97,976.19    76,455,435.95 Expense   1001-00-72 HSBC Bank 9215
             Transfer#51
             255E801EF     Stream TV International
02/07/2019   2             B.V.                      Funding of STVI working capital                        21,156.26    76,357,459.76 Expense   1001-00-72 HSBC Bank 9215
             Transfer#46
             805E8022O     Stream TV International
02/07/2019   G             B.V.                      Funding of STVI working capital                        24,000.00    76,336,303.50 Expense   1001-00-72 HSBC Bank 9215
             Transfer#88
             995DZ01Q6     Stream TV International   Funding of STVI's working capital
01/29/2019   U             B.V.                      requirements                                           2,935.62     76,312,303.50 Expense   1001-00-72 HSBC Bank 9215

             Transfer#37   Stream TV International   Funding of STVI's working capital
01/29/2019   355DZ01UIL    B.V.                      requirements                                           12,189.27    76,309,367.88 Expense   1001-00-72 HSBC Bank 9215
             Transfer#45
             835DZ01Z3     Stream TV International   Funding of STVI's working capital
01/29/2019   V             B.V.                      requirements                                           4,000.00     76,297,178.61 Expense   1001-00-72 HSBC Bank 9215
             Transfer#13
             165E0007B     Ultra-D Cooperatief       Funding of SC working capital
01/23/2019   R             U.A.i.o.                  requirements                                           69,515.40    76,293,178.61 Expense   1001-00-72 HSBC Bank 9215
             Transfer#24
             715DH01YC     Ultra-D Cooperatief
01/11/2019   7             U.A.i.o.                  Funding of working capital for SeeCubic                306,157.23   76,223,663.21 Expense   1001-00-72 HSBC Bank 9215
             Transfer#03
             275DF01SK     Ultra-D Cooperatief       Funding of working capital for Ultra-D
01/09/2019   J             U.A.i.o.                  Coop                                                   9,492.54     75,917,505.98 Expense   1001-00-72 HSBC Bank 9215
             Transfer#64
             145DF00KG     Stream TV International
01/09/2019   B             B.V.                      Funding of working capital to STVI                     29,433.15    75,908,013.44 Expense   1001-00-72 HSBC Bank 9215
             Transfer#59
             935DD017R     Stream TV International
01/09/2019   9             B.V.                      Funding of working capital for STVI                    24,122.15    75,878,580.29 Expense   1001-00-72 HSBC Bank 9215

             Transfer#05                             Funding of working capital needs for
01/03/2019   195D901IOI    SeeCubic B.V.             SeeCubic - HSBC Bank Account Fees                      5,666.78     75,854,458.14 Expense   1001-00-72 HSBC Bank 9215
             Transfer#10
             235D500A1     Stream TV International
12/31/2018   4             B.V.                      Funding of working capital to STVI                     13,095.82    75,848,791.36 Expense   1001-00-72 HSBC Bank 9215
             Transfer#55
             945D50208     Stream TV International
12/31/2018   N             B.V.                      Funding of working capital to STVI                     5,000.00     75,835,695.54 Expense   1001-00-72 HSBC Bank 9215

                                                     Record Intercompany invoice for Bud R.
12/31/2018   2103                                    management fee expensed at SeeCubic.                   50,000.00    75,830,695.54 Journal
                                                     Loan with SeeCubic - Record Q4 2018
12/31/2018   2053                                    interest expense/(income)                              46,851.51    75,780,695.54 Journal
                                                     Loan with SeeCubic - Record Q4 2018
                                                     revalue of foreign denominated
12/31/2018   2053                                    accumulated interest balance               12,545.61                75,733,844.03 Journal
                                                     Loan with SeeCubic - Record Q4 2018
                                                     revalue of foreign denominated principal
12/31/2018   2053                                    balance                                    32,737.68                75,746,389.64 Journal
                                                     Loan with Ultra-D (1) - Record Q4 2018
12/31/2018   2053                                    interest expense/(income)                              685,679.27   75,779,127.32 Journal
                                                     Loan with Ultra-D (2) - Record Q4 2018
12/31/2018   2053                                    interest expense/(income)                              3,686.83     75,093,448.05 Journal
                                                     Loan with STVI - Record Q4 2018 interest
12/31/2018   2053                                    expense/(income)                                       51,860.56    75,089,761.22 Journal
             Transfer#24
             085CO012O     Stream TV International
12/14/2018   0             B.V.                      Funding of working capital for STVI           35,940.41    75,037,900.66 Expense   1001-00-72 HSBC Bank 9215
             Transfer#78
             445CO01AN     Stream TV International
12/14/2018   W             B.V.                      Funding of working capital for STVI           136,647.96   75,001,960.25 Expense   1001-00-72 HSBC Bank 9215
             Transfer#30
             065CO01N      Stream TV International
12/14/2018   R1            B.V.                      Funding of working capital for STVI           5,000.00     74,865,312.29 Expense   1001-00-72 HSBC Bank 9215
             Transfer#37
             835CO01SY     Ultra-D Cooperatief       Funding of working capital for Ultra-D
12/14/2018   A             U.A.i.o.                  Coop                                          11,616.36    74,860,312.29 Expense   1001-00-72 HSBC Bank 9215
             Transfer#66
             885CJ00TU     Ultra-D Cooperatief
12/10/2018   8             U.A.i.o.                  Funding of working capital for SeeCubic       160,890.09   74,848,695.93 Expense   1001-00-72 HSBC Bank 9215

             Transfer#32   Ultra-D Cooperatief
12/10/2018   605CI01RJ8    U.A.i.o.                  Funding of working capital for SeeCubic       252,827.29   74,687,805.84 Expense   1001-00-72 HSBC Bank 9215
             Transfer#34
             335CE00X1     Ultra-D Cooperatief       Funding of working capital to Ultra-D
12/04/2018   6             U.A.i.o.                  Coop                                          9,350.72     74,434,978.55 Expense   1001-00-72 HSBC Bank 9215
             Transfer#02
             955CE00SU     Stream TV International
12/04/2018   6             B.V.                      Funding of working capital for STVI           6,000.00     74,425,627.83 Expense   1001-00-72 HSBC Bank 9215
             Transfer#75
             565CE00OR     Stream TV International
12/04/2018   U             B.V.                      Funding of working capital to STVI            3,931.21     74,419,627.83 Expense   1001-00-72 HSBC Bank 9215
             Transfer#11
             135CE00JK     Stream TV International
12/04/2018   V             B.V.                      Funding of working capital to STVI            7,020.81     74,415,696.62 Expense   1001-00-72 HSBC Bank 9215

             Transfer#37                             Funding of working capital to Ultra-D
11/21/2018   375C101IY9    Ultra-D Ventures CV       Ventures C.V.                                 4,098.52     74,408,675.81 Expense   1001-00-72 HSBC Bank 9215
             Transfer#10
             575BZ00GQ     Stream TV International
11/19/2018   N             B.V.                      Funding of working capital to STVI            9,000.00     74,404,577.29 Expense   1001-00-72 HSBC Bank 9215
             Transfer#20
             335BZ00C4     Stream TV International
11/19/2018   V             B.V.                      Funding of working capital to STVI            93,014.56    74,395,577.29 Expense   1001-00-72 HSBC Bank 9215

             Transfer#53   Stream TV International
11/19/2018   295BZ00I7J    B.V.                      Funding of working capital to STVI            34,091.62    74,302,562.73 Expense   1001-00-72 HSBC Bank 9215
             Transfer#29
             835BS01M5                               Funding of working capital to Ultra-D
11/13/2018   5             Ultra-D Ventures CV       Ventures C.V.                                 288.68       74,268,471.11 Expense   1001-00-72 HSBC Bank 9215
             Transfer#89
             005BT0120     Ultra-D Cooperatief       Funding of working capital for SeeCubic
11/13/2018   9             U.A.i.o.                  B.V.                                          380,477.84   74,268,182.43 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#38745B    Stream TV International   Funding of working capital requirements
11/06/2018   M01SLE        B.V.                      for STVI                                      4,987.44     73,887,704.59 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#03785B    Stream TV International   Funding of working capital requirements
11/06/2018   M011YG        B.V.                      for STVI                                      18,054.23    73,882,717.15 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#58835B    Stream TV International   Funding of working capital requirement for
11/06/2018   M00G1V        B.V.                      STVI                                          5,450.00     73,864,662.92 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#277795    Stream TV International
10/18/2018   B300BY        B.V.                      Funding of STVI's working capital             300.00       73,859,212.92 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#12165B    Stream TV International
10/18/2018   300AJ5        B.V.                      Funding of STVI's working capital             17,556.71    73,858,912.92 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#10615B    Ultra-D Cooperatief
10/18/2018   3000F6        U.A.i.o.                  Funding of Ultra-D's working capital          300.00       73,841,356.21 Expense   1001-00-72 HSBC Bank 9215
                           Ultra-D Cooperatief
10/18/2018                 U.A.i.o.                  Funding of Ultra-D's working capital          402.61       73,841,056.21 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#49225B    Ultra-D Cooperatief       Funding to Ultra-D for resolution of Ultra-
10/18/2018   3003G2        U.A.i.o.                  D intercompany balance with STVI              27,778.80    73,840,653.60 Expense   1001-00-72 HSBC Bank 9215
             Wire                                    Funding to SeeCubic for the resolution of
             Ref#65405B                              SeeCubic's intercompany balance with
10/18/2018   30075T        SeeCubic B.V.             STVI                                          83,898.72    73,812,874.80 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#86725A    Stream TV International
10/11/2018   W01KER        B.V.                      Funding of working capital to subsidiary      55,328.93    73,728,976.08 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#69575A                             Funding of working capital to subsidiary -
10/11/2018   W005AG     SeeCubic B.V.               150,000.00 EUR                                             175,024.20   73,673,647.15 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#75055A                             Funding of working capital needs for
10/10/2018   V003FR     SeeCubic b.v                SeeCubic - 223,295.00 EUR                                  259,617.30   73,498,622.95 Expense   1001-00-72 HSBC Bank 9215
                                                    Loan with SeeCubic - Record Q3 2018
09/30/2018   2039                                   interest expense/(income)                                  46,851.51    73,236,120.86 Journal
                                                    Loan with SeeCubic - Record Q3 2018
                                                    revalue of foreign denominated
09/30/2018   2039                                   accumulated interest balance                  3,964.95                  73,189,269.35 Journal
                                                    Loan with SeeCubic - Record Q3 2018
                                                    revalue of foreign denominated principal
09/30/2018   2039                                   balance                                       8,587.86                  73,193,234.30 Journal
                                                    Loan with Ultra-D (1) - Record Q3 2018
09/30/2018   2039                                   interest expense/(income)                                  662,269.37   73,201,822.16 Journal
                                                    Loan with Ultra-D (2) - Record Q3 2018
09/30/2018   2039                                   interest expense/(income)                                  3,686.83     72,539,552.79 Journal
                                                    Loan with STVI - Record Q3 2018 interest
09/30/2018   2039                                   expense/(income)                                           38,259.86    72,535,865.96 Journal

                                                    Loan with SeeCubic - Record Q2 2018
09/30/2018   2039                                   true-up adj. to interest expense/(income)     39,314.07                 72,497,606.10 Journal

                                                    Loan with Ultra-D (1) - Record Q2 2018
09/30/2018   2039                                   true-up adj. to interest expense/(income)     513,939.81                72,536,920.17 Journal

                                                    Loan with Ultra-D (2) - Record Q2 2018
09/30/2018   2039                                   true-up adj. to interest expense/(income)     3,016.50                  73,050,859.98 Journal
                                                    Loan with STVI - Record Q2 2018 true-up
09/30/2018   2039                                   adj. to interest expense/(income)             8,385.02                  73,053,876.48 Journal
                                                    Loan with SeeCubic - Record Q2 2018
                                                    true-up adj. to interest expense/(income) -
09/30/2018   2039                                   CTA difference                                             798.54       73,062,261.50 Journal
                                                    8/13/2018 Wire Ref#07325990070T -
09/30/2018   2039                                   Reclass funding to correct IC account                      121,684.08   73,061,462.96 Journal
                                                    8/13/2018 Wire Ref#07325990070T -
09/30/2018   2039                                   Reclass funding to correct IC account                      121,684.08   72,939,778.88 Journal
                                                    8/13/2018 Wire Ref#07325990070T -
09/30/2018   2039                                   Reclass funding to correct IC account                      7,071.45     72,818,094.80 Journal
                                                    8/13/2018 Wire Ref#07325990070T -
09/30/2018   2039                                   Reclass funding to correct IC account         121,684.08                72,811,023.35 Journal
                                                    8/13/2018 Wire Ref#07325990070T -
09/30/2018   2039                                   Reclass funding to correct IC account         121,684.08                72,932,707.43 Journal
                                                    8/13/2018 Wire Ref#07325990070T -
09/30/2018   2039                                   Reclass funding to correct IC account         7,071.45                  73,054,391.51 Journal
             Wire
             Ref#12465A   Stream TV International
09/20/2018   B006K5       B.V.                      Funding of STVI working capital                            79,953.85    73,061,462.96 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#52985A   Ultra-D Cooperatief
09/20/2018   B001DV       U.A.i.o.                  Funding of Ultra-D working capital                         9,669.64     72,981,509.11 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#54435A   Stream TV International
09/13/2018   4024LX       B.V.                      Funding of STVI working capital                            91,479.15    72,971,839.47 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#15905A
09/11/2018   2008EJ       Ultra-D Ventures CV       Funding of CV working capital (bank fees)                  238.17       72,880,360.32 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#18395A   Ultra-D Cooperatief
09/11/2018   200FFF       U.A.i.o.                  Funding of SeeCubic working capital                        140,090.64   72,880,122.15 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#25035A   Stream TV International
09/10/2018   101GX8       B.V.                      Funding of STVI working capital                            12,523.50    72,740,031.51 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#13635A   Ultra-D Cooperatief
09/10/2018   101BW4       U.A.i.o.                  Funding of Ultra-D Coop working capital                    7,037.44     72,727,508.01 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#142659   Ultra-D Cooperatief
09/05/2018   W0079Z       U.A.i.o.                  Funding of working capital for UltraD                      16,475.20    72,720,470.57 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#284659   Stream TV International
09/05/2018   W00DN4       B.V.                      Funding of working capital for STVI                        114,326.47   72,703,995.37 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#882459   Ultra-D Cooperatief
08/31/2018   R01SJ1       U.A.i.o.                  Funding of working capital                                 116,948.00   72,589,668.90 Expense   1001-00-72 HSBC Bank 9215
             691459I013
08/22/2018   MR           Ultra-D Ventures CV       Funding of working capital                                 5,185.36     72,472,720.90 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#379659   Stream TV International
08/13/2018   90248J       B.V.                      Funding of working capital for STVI                       77,122.21      72,467,535.54 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#073259   Ultra-D Cooperatief       Funding of SeeCubic working capital - 1st
08/13/2018   90070T       U.A.i.o.                  half                                                      121,684.08     72,390,413.33 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#073259   Ultra-D Cooperatief       Funding of SeeCubic working capital -
08/13/2018   90070T       U.A.i.o.                  2nd half                                                  121,684.08     72,268,729.25 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#073259   Ultra-D Cooperatief
08/13/2018   90070T       U.A.i.o.                  Funding of UltraD working capital                         7,071.45       72,147,045.17 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#410459   Ultra-D Cooperatief
08/06/2018   2017T0       U.A.i.o.                  Funding of SeeCubic working capital                       124,271.02     72,139,973.72 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#213658   Stream TV International
07/23/2018   O01O1O       B.V.                      Funding of STVI working capital                           119,165.56     72,015,702.70 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#291158   Ultra-D Cooperatief
07/19/2018   K0215P       U.A.i.o.                  Funding of working capital for SeeCubic                   58,906.65      71,896,537.14 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#197858   Ultra-D Cooperatief
07/12/2018   D01XXO       U.A.i.o.                  Funding of working capital for SeeCubic                   116,441.02     71,837,630.49 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#197858   Ultra-D Cooperatief       Remittance of legal settlement received by
07/12/2018   D01XXO       U.A.i.o.                  Stream TV due to SeeCubic                                 1,170.88       71,721,189.47 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#318158   Ultra-D Cooperatief
07/11/2018   C00TM5       U.A.i.o.                  Funding of working capital for Ultra-D                    10,989.86      71,720,018.59 Expense   1001-00-72 HSBC Bank 9215
                                                    Settlement amount of Sierra Component                                                            1000-10-00 TD Bank:1001-00-00 TD
07/03/2018                John F. Bradley, Jr.      equipment prepay                             1,170.88                    71,709,028.73 Deposit   Bank 8682
                                                    Remeasurement StreamTV loan
06/30/2018   2028                                   receivable with SeeCubic                     93,745.22                   71,710,199.61 Journal
                                                    4/12/18 Wire Ref#721855U01DDU -
                                                    Funding of Working Capital to Sub
06/30/2018   2027                                   (SeeCubic)                                                233,424.83     71,803,944.83 Journal
                                                    4/12/18 Wire Ref#721855U01DDU -
                                                    Funding of Working Capital to Sub
06/30/2018   2027                                   (SeeCubic)                                   233,424.83                  71,570,520.00 Journal

                                                    6/6/18 Wire Ref#204057D01HYC -
06/30/2018   2027                                   Funding of working capital to subsidiary                  96,780.67      71,803,944.83 Journal

                                                    6/6/18 Wire Ref#204057D01HYC -
06/30/2018   2027                                   Funding of working capital to subsidiary     96,780.67                   71,707,164.16 Journal
                                                    Record quarterly intercompany interest
06/30/2018   2026                                   receivable on STVI loan                                   18,633.37      71,803,944.83 Journal
06/30/2018   2025                                   Interest receivable from UltraD loan                      6,703.33       71,785,311.46 Journal
06/30/2018   2024                                   Interest receivable from UltraD loan                      1,142,244.84   71,778,608.13 Journal
                                                    Record quarterly intercompany interest
06/30/2018   2023                                   receivable on SeeCubic loan                               87,364.61      70,636,363.29 Journal
                                                    Revaluate StreamTV interest receivable
06/30/2018   2023                                   with SeeCubic                                42,334.10                   70,548,998.68 Journal
             Wire
             Ref#167657   Stream TV International
06/25/2018   W01GHN       B.V.                      Funding of working capital                                78,973.48      70,591,332.78 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#443557   Ultra-D Cooperatief
06/15/2018   M02004       U.A.i.o.                  Funding of working capital                                260,164.78     70,512,359.30 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#204057   Ultra-D Cooperatief
06/06/2018   D01HYC       U.A.i.o.                  Funding of working capital to subsidiary                  96,780.67      70,252,194.52 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#522857   Stream TV International
06/06/2018   D00FZM       B.V.                      Funding of working capital to subsidiary                  198,047.51     70,155,413.85 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#426457   Stream TV International
05/25/2018   100J0R       B.V.                      Funding of working capital                                42,858.57      69,957,366.34 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#894856   Ultra-D Cooperatief
05/17/2018   S01G2M       U.A.i.o.                  Funding working capital of subsidiary                     314,574.18     69,914,507.77 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#738556   Ultra-D Cooperatief       Funding of working capital from STV to
05/08/2018   K00HZD       U.A.i.o.                  subsidiary (Ultra-D)                                      42,354.37      69,599,933.59 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#205156   Stream TV International
04/26/2018   801N42       B.V.                      Funding of working capital to STVI                        220,926.12     69,557,579.22 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#205156    Stream TV International   Funding of working capital to STVI - Wire
04/26/2018   801N42        B.V.                      2 of 2 for Requested Funds                               61,029.31      69,336,653.10 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#617656    Stream TV International   Funding of working capital to STVI - Wire
04/25/2018   700JTD        B.V.                      1 of 2 for Requested Funds                               367,629.71     69,275,623.79 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#136056    Stream TV International
04/23/2018   5003JU        B.V.                      Funding of working capital to STVI                       11,700.78      68,907,994.08 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#721855    Ultra-D Cooperatief       Funding of Working Capital to Sub
04/12/2018   U01DDU        U.A.i.o.                  (SeeCubic)                                               233,424.83     68,896,293.30 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#149055    Stream TV International
04/11/2018   T00XBE        B.V.                      Funding of working capital                               32,207.58      68,662,868.47 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#592055    Ultra-D Cooperatief       Funding for Working Capital to Sub (SC
04/11/2018   T012UP        U.A.i.o.                  Payroll)                                                 287,768.01     68,630,660.89 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#895755    Stream TV International   Funding of Working Capital (Kevin Cabot
04/11/2018   T01NTF        B.V.                      Taxes) from STV to STVI                                  5,227.29       68,342,892.88 Expense   1001-00-72 HSBC Bank 9215
03/31/2018   1991                                    Interest receivable from UltraD loan                     6,703.33       68,337,665.59 Journal
03/31/2018   1990                                    Interest receivable from UltraD loan                     1,065,707.29   68,330,962.26 Journal
                                                     Remeasurement StreamTV loan
03/31/2018   1989                                    receivable with SeeCubic                                 50,067.26      67,265,254.97 Journal
                                                     Record quarterly intercompany interest
03/31/2018   1988                                    receivable on SeeCubic loan                              90,162.53      67,215,187.71 Journal
                                                     Revaluate StreamTV interest receivable
03/31/2018   1988                                    with SeeCubic                                            19,273.28      67,125,025.18 Journal
                                                     Record quarterly intercompany interest
03/31/2018   1987                                    receivable on STVI loan                                  8,123.37       67,105,751.90 Journal
                                                     Reclass funding transaction posted to IC
                                                     inventory account to STVI IC Fund
03/31/2018   1986                                    account                                                  28,304.55      67,097,628.53 Journal
                                                     Reclass funding transaction posted to IC
                                                     inventory account to STVI IC Fund
03/31/2018   1986                                    account                                      28,304.55                  67,069,323.98 Journal
             Wire
             Ref#177255    Stream TV International
03/22/2018   900LTU        B.V.                      Funding of Working Capital to STVI                       22,970.13      67,097,628.53 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#310354    Stream TV International
03/12/2018   Z01HLC        B.V.                      Funding of STVI Working Capital                          39,017.07      67,074,658.40 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#238954    Ultra-D Cooperatief
03/12/2018   Z01DBR        U.A.i.o.                  Funding ofWorking Capital                                294,565.46     67,035,641.33 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#187654    Stream TV International
03/06/2018   H019VV        B.V.                      Funding of STVI Working Capital                          27,617.40      66,741,075.87 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#419554    Ultra-D Cooperatief
03/06/2018   T010HM        U.A.i.o.                  Funding of SeeCubic Working Capital                      186,043.11     66,713,458.47 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#187654    Stream TV International
02/26/2018   H019V         B.V.                      Funding Working Capital for STVI                         26,471.98      66,527,415.36 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#457254    Ultra-D Cooperatief
02/14/2018   901NS5        U.A.i.o.                  Funding for SeeCubic's Working Capital                   167,824.48     66,500,943.38 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#816354    Stream TV International
02/14/2018   9006GA        B.V.                      Funding to Stream TV International B.V.                  16,844.12      66,333,118.90 Expense   1001-00-72 HSBC Bank 9215
             Wire
             ref#4760543   Stream TV International
02/08/2018   0237H         B.V.                      Funding of working capital to STVI                       28,304.55      66,316,274.78 Expense   1001-00-72 HSBC Bank 9215
             Wire
             ref#8702540   Ultra-D Cooperatief
02/05/2018   00UVN         U.A.i.o.                  Funding of Working Capital to SC                         317,468.43     66,287,970.23 Expense   1001-00-72 HSBC Bank 9215

             Wire                                    Transfer of funds to Ultra-D Cooperatief
             Ref#622353 Ultra-D Cooperatief          U.A. for eventual transfer to SeeCubic for
01/30/2018   U00UB3     U.A.i.o.                     payroll and/or working capital purposes                  134,423.59     65,970,501.80 Expense   1001-00-72 HSBC Bank 9215
                                                     Intercompany Credit # CRIC201801291 -
                                                     Transfer of sixty (60) 65" Displays FG
                                                     units from STVI (Pegatron-CN) to STV
01/29/2018   1996                                    (MAD-USA)                                    94,568.70                  65,836,078.21 Journal
             Wire
             Ref#124753 Stream TV International
01/16/2018   G00IWN     B.V.                         Funding of working capital to subsidiary                 43,371.00      65,930,646.91 Expense   1001-00-72 HSBC Bank 9215
                           Ultra-D Cooperatief
01/12/2018   20180112-1    U.A.i.o.                  Funding of working capital                                    286,496.10     65,887,275.91 Expense   1001-00-72 HSBC Bank 9215
             WireRef#09
             6553C01GM     Stream TV International
01/12/2018   2             B.V.                      Funding of working capital to STVI                            5,603.56       65,600,779.81 Expense   1001-00-72 HSBC Bank 9215
             Wire
             Ref#134753    Ultra-D Cooperatief
01/05/2018   501G86        U.A.i.o.                  Funding for SeeCubic Work Capital                             146,488.75     65,595,176.25 Expense   1001-00-72 HSBC Bank 9215
                                                     Reclass prior year invoices paid on STVI's
12/31/2017   1952                                    behalf                                                        2,836.30       65,813,487.50 Journal
                                                     Record quarterly intercompany interest
12/31/2017   1941                                    receivable on STVI loan                                       2,902.33       65,810,651.20 Journal
                                                     Record inventory shipped to US in
12/31/2017   1930                                    November                                       251,913.20                    65,807,748.87 Journal
                                                     Record inventory shipped to US in
12/31/2017   1930                                    December                                       251,913.20                    66,059,662.07 Journal
                                                     Reclass invoices recorded for STVI to IC
12/31/2017   1929                                    inventory account                              1,907,643.97                  66,311,575.27 Journal
                                                     Reclass invoices recorded for STVI to IC
12/31/2017   1929                                    inventory account                                             1,907,643.97   68,219,219.24 Journal
                                                     Reclass funding transaction posted to IC
                                                     inventory account to STVI IC Fund
12/31/2017   1929                                    account                                                       58,046.55      66,311,575.27 Journal
                                                     Reclass funding transaction posted to IC
                                                     inventory account to STVI IC Fund
12/31/2017   1929                                    account                                        58,046.55                     66,253,528.72 Journal
12/31/2017   1928                                    Interest receivable from UltraD loan                          6,703.33       66,311,575.27 Journal
12/31/2017   1927                                    Interest receivable from UltraD loan                          1,001,475.89   66,304,871.94 Journal
                                                     Record quarterly intercompany interest
12/31/2017   1926                                    receivable on SeeCubic loan                                   86,302.21      65,303,396.05 Journal
                                                     Revaluate StreamTV interest receivable
12/31/2017   1926                                    with SeeCubic                                                 9,556.53       65,217,093.84 Journal
                                                     Revaluate StreamTV loan receivable with
12/31/2017   1925                                    SeeCubic                                                      24,303.96      65,207,537.31 Journal
             Wireref#511
             752W01MO      Ultra-D Cooperatief       Funding working capital for SeeCubic -
12/28/2017   W             U.A.i.o.                  December 2017                                                 36,252.93      65,183,233.35 Expense   1001-00-72 HSBC Bank 9215
             WireRef#14
             1552W01S9     Stream TV International   Funding of working capital to STVI -
12/28/2017   T             B.V.                      December 2017                                                 59,810.48      65,146,980.42 Expense   1001-00-72 HSBC Bank 9215
             Wire
             ref#355552    Ultra-D Cooperatief
12/21/2017   P011LG        U.A.i.o.                  Funding of working capital to subsidiary                      2,512.27       65,087,169.94 Expense   1001-00-72 HSBC Bank 9215
                                                     Payment by Stream (USA) to Pegatron
             FGPMTDEC                                (Starlink) of STVI's accrued outstanding
12/17/2017   1917     Pegatron Corporation           finished goods costs                                          105,971.35     65,084,657.67 Bill      20000 2000-00-00 Accounts Payable
                                                     Funding of SC working capital for first half
             WireRef#25    Ultra-D Cooperatief       of December 2017 - Funding # 20171214-
12/13/2017   0752H01IGV    U.A.i.o.                  1                                                             134,933.78     64,978,686.32 Expense   1001-00-72 HSBC Bank 9215
             WireRef#67                              Funding of SC working capital for the
             5152H01BV     Ultra-D Cooperatief       second half of December 2017 - Funding
12/13/2017   3             U.A.i.o.                  # 20171214-2                                                  136,687.20     64,843,752.54 Expense   1001-00-72 HSBC Bank 9215
             Wire                                    Payment by Stream TV (USA) to Pegatron
             Ref#420752                              (Starlink) for STVI finished goods
12/11/2017   F01QLG        Pegatron Corporation      produced - FG20171211-1                                       99,006.05      64,707,065.34 Expense   1001-00-72 HSBC Bank 9215

             WireRef#43    Ultra-D Cooperatief       Funding for SC working capital for
12/04/2017   4552801UJ6    U.A.i.o.                  November 2017                                                 130,480.15     64,608,059.29 Expense   1001-00-72 HSBC Bank 9215
             WireRef#64
             5152301PP     Stream TV International
11/29/2017   1             B.V.                      November 2017 Funds Transfer                                  16,037.31      64,477,579.14 Expense   1001-00-72 HSBC Bank 9215
             WireRef#73
             5152301SY     Ultra-D Cooperatief
11/29/2017   M             U.A.i.o.                  November 2017 Working Capital                                 6,956.13       64,461,541.83 Expense   1001-00-72 HSBC Bank 9215
             159552200A                              Payment to Pegatron on behalf of STVI by
11/28/2017   CH            Pegatron Corporation      Stream for FG produced                                        81,506.60      64,454,585.70 Expense   1001-00-72 HSBC Bank 9215
                                                     Transfer of funds to Ultra-D Cooperatief
                                                     U.A. for eventual transfer to SeeCubic for
             WireRef#67                              payroll and/or working capital purposes -
             9951O00XD     Ultra-D Cooperatief       First Half November 2017 Payroll -
11/14/2017   V             U.A.i.o.                  Request # 20171113-1                                          142,544.83     64,373,079.10 Expense   1001-00-72 HSBC Bank 9215
             WireRef#58                              Transfer of funds to Stream TV
             1451O00L4     Stream TV International   International B.V. for working capital
11/14/2017   2             B.V.                      purposes - Request # 20171109-2                               11,901.23      64,230,534.27 Expense   1001-00-72 HSBC Bank 9215
             WireRef#65                              Transfer of funds to Ultra-D Cooperatief
             1051O00N7     Ultra-D Cooperatief       U.A. for working capital purposes -
11/14/2017   V             U.A.i.o.                  Request # 20171109-1                                          14,299.38      64,218,633.04 Expense   1001-00-72 HSBC Bank 9215
                                                      Transfer of funds to Ultra-D Cooperatief
                                                      U.A. for eventual transfer to SeeCubic for
             NL48INGB0 Ultra-D Cooperatief            payroll and/or working capital purposes -
11/01/2017   657233714 U.A.i.o.                       Funding # 20171101-1                                                135,527.28   64,204,333.66 Expense   1001-00-72 HSBC Bank 9215
                                                      Transfer of funds to Stream TV
             NL90INGB0 Stream TV International        International B.V. for working capital
10/31/2017   667086897 B.V.                           purposes - Funding # 20171031-1                                     11,487.39    64,068,806.38 Expense   1001-00-72 HSBC Bank 9215
                                                      Transfer of funds to Ultra-D Cooperatief
             NL48INGB0      Ultra-D Cooperatief       U.A. for working capital purposes -
10/31/2017   657233714      U.A.i.o.                  Funding # 20171031-2                                                5,858.40     64,057,318.99 Expense   1001-00-72 HSBC Bank 9215
             7856513015     Ultra-D Cooperatief       Funding to SeeCubic for 1st Half of
10/24/2017   C9             U.A.i.o.                  October 2017 Payroll                                                137,019.70   64,051,460.59 Expense   1001-00-72 HSBC Bank 9215
             6823513016     Ultra-D Cooperatief       Funding SeeCubic's Operational Costs for
10/24/2017   YQ             U.A.i.o.                  October 2017                                                        118,803.84   63,914,440.89 Expense   1001-00-72 HSBC Bank 9215
             783950W00      Stream TV International
10/17/2017   Z3B            B.V.                      Funding for Kevin Cabot's Payroll                                   5,184.53     63,795,637.05 Expense   1001-00-72 HSBC Bank 9215
             FGPMTOC                                  Payment of STVI FG Inventory at
10/10/2017   T1017          Pegatron Corporation      Pegatron by Stream Inc (USA)                                        81,506.60    63,790,452.52 Bill      20000 2000-00-00 Accounts Payable
                                                      To adjust Funding of Working Capital and
10/10/2017   1881                                     Payroll to Ultra-D for fx differences                               1,666.21     63,708,945.92 Journal
                                                      Transfer of funds to Ultra-D Cooperatief
                                                      U.A. for eventual transfer to SeeCubic for
             Oct42017W      Ultra-D Cooperatief       payroll
10/04/2017   CPayroll       U.A.i.o. (EUR)            and/or working capital purposes            115,619.00               136,020.78   63,707,279.71 Bill      2000-00-03 Accounts Payable (EUR)   1.18
             Sep28
             2017WCPay      Ultra-D Cooperatief       Sep 28, 2017 Funding SeeCubic working
10/01/2017   roll           U.A.i.o. (EUR)            capital & payroll                        123,140.00                 145,065.20   63,571,258.93 Bill      2000-00-03 Accounts Payable (EUR)   1.18
                            Ultra-D Cooperatief       Reverse bill # Working Capital Aug -                                                           Vendor
09/30/2017   VC81517        U.A.i.o.                  recorded on 8/15/17                                     76,116.35                63,426,193.73 Credit    20000 2000-00-00 Accounts Payable
                                                      To adjust Funding of Working Capital and
09/30/2017   1880                                     Payroll to Ultra-D for fx differences                               189.64       63,502,310.08 Journal
                                                      Record quarterly intercompany interest
09/30/2017   1873                                     receivable on SeeCubic loan                                         86,102.51    63,502,120.44 Journal
                                                      Revaluate StreamTV interest receivable
09/30/2017   1873                                     with SeeCubic                                                       16,615.46    63,416,017.93 Journal
09/30/2017   1872                                     Interest receivable from UltraD loan                                6,703.33     63,399,402.47 Journal
09/30/2017   1871                                     Interest receivable from UltraD loan                                961,823.67   63,392,699.14 Journal
                                                      Revaluate StreamTV loan receivable with
09/30/2017   1870                                     SeeCubic                                                            57,169.41    62,430,875.47 Journal
                        Stream TV International       Funding of Working Capital - September
09/18/2017   20170918-2 B.V. (EUR)                    18, 2017                                26,832.40                   32,744.84    62,373,706.06 Bill      2000-00-03 Accounts Payable (EUR)   1.22
                        Ultra-D Cooperatief
09/18/2017   20170918-1 U.A.i.o. (EUR)                September 2018 Transfer of Funds        9,755.59                    11,989.63    62,340,961.22 Bill      2000-00-03 Accounts Payable (EUR)   1.23
             Sep 2017   Ultra-D Cooperatief           Funding Ultra-D for SeeCubic's (Ultra-D
09/11/2017   Payroll    U.A.i.o. (EUR)                subsidiary) September 2017 payroll      115,629.00                  138,274.94   62,328,971.59 Bill      2000-00-03 Accounts Payable (EUR)   1.20
                                                      Payment for STVI Finished Goods
                                                      Inventory by Stream per Wire Ref #
             FGPMTSEP                                 14344ZS01AIK (65" Western
09/07/2017   0717     Pegatron Corporation            Configuration @ $1,164.38 per unit)                                 81,506.60    62,190,696.65 Bill      20000 2000-00-00 Accounts Payable
                                                      Payment for STVI Finished Goods
                                                      Inventory by Stream per Wire Ref #
             FGPMTAUG                                 19284ZI00E1J (65" Western Configuration
08/28/2017   2817          Pegatron Corporation       @ $1,164.38 per unit)                                               81,506.60    62,109,190.05 Bill      20000 2000-00-00 Accounts Payable
             Ultra-D Aug   Ultra-D Cooperatief
08/18/2017   18, 2017      U.A.i.o.                   Ultra-D Aug 18, 2017 E & Y Payment                                  20,460.52    62,027,683.45 Bill      20000 2000-00-00 Accounts Payable
             Aug 18,       Stream TV International    Working Capital Aug 18, 2017 for E & Y
08/18/2017   2017          B.V.                       Payment                                                             13,732.80    62,007,222.93 Bill      20000 2000-00-00 Accounts Payable
             Working       Ultra-D Cooperatief
08/15/2017   Capital Aug   U.A.i.o.                   Ultra-D Working Capital Aug, 2017                                   154,099.93   61,993,490.13 Bill      20000 2000-00-00 Accounts Payable
             Payroll Aug,  Ultra-D Cooperatief
08/07/2017   2017          U.A.i.o.                   Ultra-D Payroll Aug, 2017                                           273,664.15   61,839,390.20 Bill      20000 2000-00-00 Accounts Payable
             Working       Stream TV International
07/31/2017   Capital       B.V.                       Working Capital Funds Transfer                                      11,568.91    61,565,726.05 Bill      20000 2000-00-00 Accounts Payable
                           Ultra-D Cooperatief
07/31/2017   Ultra-D July U.A.i.o.                    Ultra-D July Transfer of Funds                                      5,610.81     61,554,157.14 Bill      20000 2000-00-00 Accounts Payable
             Ultra-        Ultra-D Cooperatief
07/07/2017   Payroll July, U.A.i.o.                   Ultra- Payroll July, 2017                                           264,871.15   61,548,546.33 Bill      20000 2000-00-00 Accounts Payable
06/30/2017   1837                                     Interest receivable from UltraD loan                                6,703.33     60,169,535.01 Journal
06/30/2017   1835                                     Interest receivable from UltraD loan                                901,376.41   60,162,831.68 Journal
                                                      Reclass Q2 2017 funding to UltraD Coop
06/30/2017   1833                                     to Loan account                                                     935,456.34   59,261,455.27 Journal
                                                      Record quarterly intercompany interest
06/30/2017   1832                                     receivable on SeeCubic loan                                         80,575.72    58,325,998.93 Journal
                                                      Revaluate StreamTV interest receivable
06/30/2017   1832                                     with SeeCubic                                           33,150.19                58,245,423.21 Journal
                                                      Revaluate StreamTV loan receivable with
06/30/2017   1831                                     SeeCubic                                                            108,608.68   58,278,573.40 Journal
             CRRoyalty     Koninkijke Philips     Reverse Koninkijke Philips Electronics                                               Vendor
06/27/2017   Qtr#1, 2016   Electronics N.V        N.V invoice (Royalty Qtr#1, 2017)          724.14                      58,169,964.72 Credit    20000 2000-00-00 Accounts Payable
             Ultra-D       Ultra-D Cooperatief
06/13/2017   Payroll Jun   U.A.i.o.               Ultra-D Payroll June, 2017                              273,488.76     58,170,688.86 Bill      20000 2000-00-00 Accounts Payable
             FGPMTMAY                             Payment of STVI FG Inventory by Stream
05/24/2017   2417          Pegatron Corporation   to Pegatron                                             100,000.00     57,897,200.10 Bill      20000 2000-00-00 Accounts Payable
             FGPMTMAY                             Payment of STVI Finished Goods
05/11/2017   1117          Pegatron Corporation   Inventory by Stream to Pegatron                         154,000.00     57,797,200.10 Bill      20000 2000-00-00 Accounts Payable
             Royalty       Koninkijke Philips
05/03/2017   Qtr#1, 2017   Electronics N.V        Royalty Qtr #1 2017                                     724.14         57,643,200.10 Bill      20000 2000-00-00 Accounts Payable
                                                  Accr. Koninkijke Philips Electronics N.V
04/01/2017   1800R                                Royalty Qtr#1, 2017                        724.14                      57,642,475.96 Journal
03/31/2017   1836                                 Interest receivable from UltraD loan                    6,703.33       57,643,200.10 Journal
                                                  Accr. Koninkijke Philips Electronics N.V
03/31/2017   1800                                 Royalty Qtr#1, 2017                                     724.14         57,636,496.77 Journal
                                                  Revaluate StreamTV loan receivable with
03/31/2017   1754                                 SeeCubic                                                24,342.06      57,635,772.63 Journal
03/31/2017   1753                                 Interest receivable from UltraD loan                    859,351.39     57,611,430.57 Journal
                                                  Record quarterly intercompany interest
03/31/2017   1752                                 receivable on SeeCubic loan                             78,064.91      56,752,079.18 Journal
                                                  Revaluate StreamTV interest receivable
03/31/2017   1752                                 with SeeCubic                                           66,194.27      56,674,014.27 Journal
                                                  Reclass Q1 2017 funding to UltraD Coop
03/31/2017   1751                                 to Loan account                                         840,500.40     56,607,820.00 Journal
12/31/2016   1804                                 Interest receivable from UltraD loan                    6,703.33       55,767,319.60 Journal
                                                  Correct adjustment posted to JE 1720 to
                                                  correct ending balance in FG for
12/31/2016   1794                                 StreamTV                                   3,358.80                    55,760,616.27 Journal
                                                  Record quarterly intercompany interest
12/31/2016   1738                                 receivable on SeeCubic loan                             76,254.53      55,763,975.07 Journal
                                                  Revaluate StreamTV interest receivable
12/31/2016   1738                                 with SeeCubic                              15,633.64                   55,687,720.54 Journal
                                                  Revaluate StreamTV loan receivable with
12/31/2016   1735                                 SeeCubic                                   101,852.70                  55,703,354.18 Journal
                                                  Reclass UltraD Q4 funding which posted
12/31/2016   1729                                 to 1410-10-95                                           319,784.05     55,805,206.88 Journal
                                                  Reclass UltraD Q4 funding which posted
12/31/2016   1729                                 to 1410-10-95                              319,784.05                  55,485,422.83 Journal
12/31/2016   1721                                 Reclass Inventory to StreamTV Int                       2,467,155.40   55,805,206.88 Journal
12/31/2016   1715                                 Interest receivable from UltraD loan                    809,527.52     53,338,051.48 Journal
                                                  Reclass 2016 funding to UltraD Coop to
12/31/2016   1711                                 Loan account                                            676,693.42     52,528,523.96 Journal
             Ultra-D Oct   Ultra-D Cooperatief
10/10/2016   10, 16        U.A.i.o.               Ultra-D Oct 10, 2016-Payroll                            319,784.05     51,851,830.54 Bill      20000 2000-00-00 Accounts Payable
09/30/2016   1803                                 Interest receivable from UltraD loan                    6,703.33       51,532,046.49 Journal
                                                  Record quarterly intercompany interest
09/30/2016   1737                                 receivable on SeeCubic loan                             73,266.38      51,525,343.16 Journal
                                                  Revaluate StreamTV interest receivable
09/30/2016   1737                                 with SeeCubic                                           1,755.82       51,452,076.78 Journal
                                                  Revaluate StreamTV loan receivable with
09/30/2016   1734                                 SeeCubic                                                12,204.82      51,450,320.96 Journal
                                                  Reclass opening balance for UK rent
09/30/2016   1719                                 payment made by CV.                                     14,083.85      51,438,116.14 Journal
                                                  Reclass opening balance for
09/30/2016   1719                                 MARKETING payment made by CV.                           26,342.80      51,424,032.29 Journal
09/30/2016   1714                                 Interest receivable from UltraD loan                    809,527.52     51,397,689.49 Journal
                                                  Reclass 2016 funding to SeeCubic to
09/30/2016   1710                                 Loan account                                            172,299.83     50,588,161.97 Journal

                                                  Sept 2016 – Record Quarterly StreamTV
09/30/2016   1588                                 UK office rent paid by CV (10.8K GBP)      14,083.85                   50,415,862.14 Journal
                                                  July 2016 Record Marketing fee for FULL
                                                  FRONTAL GROUP StreamTV paid by CV
07/31/2016   1585                                 (10K GBP each)                             26,342.80                   50,429,945.99 Journal
                                                  Record Hawk Note #7 (3.5M GBP) on
07/07/2016   1590                                 July 7, 2016                                            2,989,786.80   50,456,288.79 Journal
06/30/2016   1802                                 Interest receivable from UltraD loan                    6,703.33       47,466,501.99 Journal
                                                  Record quarterly intercompany interest
06/30/2016   1736                                 receivable on SeeCubic loan                             74,156.97      47,459,798.66 Journal
                                                  Revaluate StreamTV interest receivable
06/30/2016   1736                                 with SeeCubic                              2,888.53                    47,385,641.69 Journal
                                                  Revaluate StreamTV loan receivable with
06/30/2016   1733                                 SeeCubic                                   33,032.65                   47,388,530.22 Journal
                                                  Reclass opening balance for UK rent
06/30/2016   1718                                 payment made by CV.                                     15,660.76      47,421,562.87 Journal
06/30/2016   1713                                 Interest receivable from UltraD loan                    809,527.52     47,405,902.11 Journal
                      June 2016 - Record Quarterly StreamTV
06/30/2016   1587     UK office rent paid by CV (10.8K GBP)        15,660.76                       46,596,374.59 Journal
03/31/2016   1801     Interest receivable from UltraD loan                         6,703.33        46,612,035.35 Journal
                      Record quarterly intercompany interest
03/31/2016   1732     receivable on SeeCubic loan                                  72,428.97       46,605,332.02 Journal
                      Revaluate StreamTV interest receivable
03/31/2016   1732     with SeeCubic                                                2,142.73        46,532,903.05 Journal
                      Revaluate StreamTV loan receivable with
03/31/2016   1731     SeeCubic                                                     59,012.21       46,530,760.32 Journal
                      Reclass opening balance for UK rent
03/31/2016   1717     payment made by CV.                                          15,644.77       46,471,748.11 Journal
03/31/2016   1712     Interest receivable from UltraD loan                         809,527.52      46,456,103.34 Journal

                      March 2016 - Record Quarterly StreamTV
03/31/2016   1586     UK office rent paid by CV (10.8K GBP)        15,644.77                       45,646,575.82 Journal
                      Record Hawk Note #6 (3M GBP) on Feb
02/15/2016   1589     15 2016                                                      2,868,109.20    45,662,220.59 Journal
                      Reclass opening balance for SPU
01/01/2016   1716     payment made by CV.                                          445,708.58      42,794,111.39 Journal
                      Reclass opening balance for Pegatron
01/01/2016   1716     NRE payment made by CV.                                      297,258.06      42,348,402.81 Journal
                      Reclass opening balance for UK rent
01/01/2016   1716     payment made by CV.                                          49,133.07       42,051,144.75 Journal
                      Reclass opening balance of Loan
01/01/2016   1709     receivable with UltraD Coop                                  16,190,550.40   42,002,011.68 Journal
                      Reclass opening balance of Loan
01/01/2016   1709     receivable with SeeCubic                                     1,432,421.81    25,811,461.28 Journal

                      Reclass UltraD IC activity associated with
01/01/2016   1709     invoices and Philips interest payments                       129,006.84      24,379,039.47 Journal
01/01/2016   1709     Reclass UltraD IC activity                                   5,059.70        24,250,032.63 Journal
                      To record Hawk Note #5, 10/12/15 First
12/31/2015   1473RR   Draw to Curacao of £2,500,000                                2,991,495.00    24,244,972.93 Journal
                      To record Hawk Note #5, 10/12/15 First
12/31/2015   1473R    Draw to Curacao of £2,500,000                2,991,495.00                    21,253,477.93 Journal
                      To adjust 2015 Intercompany Interest
                      Income & Intercompany Interest
12/31/2015   1557     Receivable to actual                                         4,863.66        24,244,972.93 Journal
                      To record 2015 Intercompany Interest
                      Income & Intercompany Interest
12/31/2015   1556     Receivable                                                   272,015.94      24,240,109.27 Journal
                      To record 2014 Intercompany Interest
12/31/2015   1555     Income & related receivable                                  238,219.52      23,968,093.33 Journal

                      To reclass intercompany interest
12/31/2015   1554     receivable to correct company account.                       97,173.11       23,729,873.81 Journal
                      To correct the intercompany interest
12/31/2015   1553     receivable to actual.                                        54,909.41       23,632,700.70 Journal
                      To reclass amount due from SeeCubic to
                      properly reflect amount due from Ultra-D
12/31/2015   1516     Coop                                         16,349,616.94                   23,577,791.29 Journal
                      To record 2014 AJE#56 to reclass
                      amounts Due from SeeCubic to be Due
12/31/2015   1505     from Ultra-D Coop                            1,907,968.66                    39,927,408.23 Journal
                      To record StreamTV's UK office rent paid
12/31/2015   1503     by Ultra-D CV                                49,133.07                       41,835,376.89 Journal
                      To record StreamTV's R&D expenses for
12/31/2015   1503     Pegatron NRE paid by Ultra-D CV              297,258.06                      41,884,509.96 Journal

                      To reclass 2014 misposting of
12/31/2015   1485     intercompany loan to investment account                      1,861,342.00    42,181,768.02 Journal

                      To record Small Production Unit
12/31/2015   1484     machinery paid by Ultra-D Ventures (CV)      445,708.58                      40,320,426.02 Journal

                      To record Hawk Note #5, 11/19/15
12/31/2015   1474     Second Draw to Curacao of £2,500,000                         3,071,963.00    40,766,134.60 Journal
                      To record Hawk Note #5, 10/12/15 First
12/31/2015   1473     Draw to Curacao of £2,500,000                                2,991,495.00    37,694,171.60 Journal

                      To record Hawk Note #4, 9/7/15 Second
12/31/2015   1472     Draw to Curacao of £4,000,000                                4,142,832.00    34,702,676.60 Journal
                      To record Hawk Note #4, 8/6/15 First
12/31/2015   1471     Draw paid to Curacao of £4,000,000                           4,110,744.00    30,559,844.60 Journal
                      To record 2013 intercompany interest @
12/31/2015   1431     1.5%                                                         97,173.00       26,449,100.60 Journal
                                                 2011 adj to record interest income from
                                                 SeeCubic, expense deposit, reverse $40K
                                                 of business develop. exp & adjust interco.
12/31/2015   1430                                Loan                                         234,296.00                   26,351,927.60 Journal
                                                 Reclass 2015 amounts to SeeCubic
12/31/2015   1429                                Loans receivable                                          1,129,295.55    26,586,223.60 Journal
                                                 Reclass 2015 amounts to SeeCubic
12/31/2015   1429                                Loans receivable                                          16,349,616.94   25,456,928.05 Journal
                                                 Jan 2015 Hawk Note paid to Curacao CV
01/02/2015   1426                                (5,276,000 GBP)                                           8,191,515.00    9,107,311.11   Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct                            915,796.11      915,796.11     Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct               275,000.00                   0.00           Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct               205,512.97                   275,000.00     Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct               4,546.14                     480,512.97     Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct               65,142.00                    485,059.11     Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct               42,350.00                    550,201.11     Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct               65,142.00                    592,551.11     Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct               24,986.00                    657,693.11     Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct               20,817.00                    682,679.11     Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct               6,800.00                     703,496.11     Journal
                                                 Reclass 2011 SeeCubic pymts to
05/31/2012   113                                 consolidate into one loan acct               205,500.00                   710,296.11     Journal

12/20/2011   Dec 20,11     SeeCubic b.v          Payroll-related only                                      66,000.00       915,796.11     Bill      20000 2000-00-00 Accounts Payable

12/02/2011   Dec 2,11      SeeCubic b.v                                                                    100,000.00      849,796.11     Bill      20000 2000-00-00 Accounts Payable
                                                 Payroll-related only for
11/18/2011   11/18/11      SeeCubic b.v          SeeCubic 11/18/11                                         68,500.00       749,796.11     Bill      20000 2000-00-00 Accounts Payable
             Raja
             Request                             Operation & Expense for
11/15/2011   11/15/11      SeeCubic b.v          SeeCubic b.v.                                             100,000.00      681,296.11     Bill      20000 2000-00-00 Accounts Payable

10/20/2011   Oct Payroll   SeeCubic b.v          Payroll-Related only -Oct 11                              71,000.00       581,296.11     Bill      20000 2000-00-00 Accounts Payable

10/12/2011   Oct 12,2011   SeeCubic B.V. i.o.    Operational Expenditures                                  75,000.00       510,296.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
10/11/2011   10/11/11      A.K.(Bram) Riemens    Consulting 10/11/11                                       1,925.00        435,296.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
10/11/2011   10/11/11      Hans Zuidema          Consulting 10/11/11                                       2,961.00        433,371.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
10/11/2011   10/11/11      Walther Roelen        Consulting 10/11/11                                       2,961.00        430,410.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/30/2011   9/30/11       Mick McDonald         Consulting 9/30/11                                        1,700.00        427,449.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/30/2011   9/30/11       Grazina Seskevciute   Consulting 9/30/11                                        1,922.00        425,749.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/30/2011   9/30/11       A.K.(Bram) Riemens    Consulting 9/30/11                                        1,925.00        423,827.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/30/2011   9/30/11       Bart Barenburg        Consulting 9/30/11                                        2,313.00        421,902.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/30/2011   9/30/11       Hans Zuidema          Consulting 9/30/11                                        2,961.00        419,589.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/30/2011   9/30/11       Walther Roelen        Consulting 9/30/11                                        2,961.00        416,628.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/23/2011   9/23/11       Mick McDonald         Consulting 9/23/11                                        1,700.00        413,667.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/23/2011   9/23/11       Grazina Seskevciute   Consulting 9/23/11                                        1,922.00        411,967.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/23/2011   9/23/11       A.K.(Bram) Riemens    Consulting 9/23/11                                        1,925.00        410,045.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/23/2011   9/23/11       Bart Barenburg        Consulting 9/23/11                                        2,313.00        408,120.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/23/2011   9/23/11       Hans Zuidema          Consulting 9/23/11                                        2,961.00        405,807.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/23/2011   9/23/11       Walther Roelen        Consulting 9/23/11                                        2,961.00        402,846.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/19/2011   9/16/11       Mick McDonald         Consulting 9/16/11                                        1,700.00        399,885.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/16/2011   9/16/11       Grazina Seskevciute   Consulting 9/16/11                                        1,922.00        398,185.11     Bill      20000 2000-00-00 Accounts Payable
             Consulting
09/16/2011   9/16/11      A.K.(Bram) Riemens    Consulting 9/16/11                   1,925.00    396,263.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/16/2011   9/16/11      Bart Barenburg        Consulting 9/16/11                   2,313.00    394,338.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/16/2011   9/16/11      Hans Zuidema          Consulting 9/16/11                   2,961.00    392,025.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/16/2011   9/16/11      Walther Roelen        Consulting 9/16/11                   2,961.00    389,064.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/09/2011   9/9/11       Mick McDonald         Consulting 9/9/11                    1,700.00    386,103.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/09/2011   9/9/11       Grazina Seskevciute   Consulting 9/9/11                    1,922.00    384,403.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/09/2011   9/9/11       A.K.(Bram) Riemens    Consulting 9/9/11                    1,925.00    382,481.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/09/2011   9/9/11       Bart Barenburg        Consulting 9/9/11                    2,313.00    380,556.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/09/2011   9/9/11       Hans Zuidema          Consulting 9/9/11                    2,961.00    378,243.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/09/2011   9/9/11       Walther Roelen        Consulting 9/9/11                    2,961.00    375,282.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/02/2011   Sep 2,11     Grazina Seskevciute   Consulting Sep 2,11                  1,922.00    372,321.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/02/2011   Sep 2,11     A.K.(Bram) Riemens    Consulting Sep 2,11                  1,925.00    370,399.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/02/2011   Sep 2,11     Bart Barenburg        Consulting Sep 2,11                  2,313.00    368,474.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/02/2011   Sep 2,11     Hans Zuidema          Consulting Sep 2,11                  2,961.00    366,161.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
09/02/2011   Sep 2,11     Walther Roelen        Consulting Sep 2,11                  2,961.00    363,200.11   Bill   20000 2000-00-00 Accounts Payable
             Mathu
08/30/2011   Verbal       SeeCubic B.V. i.o.    To purchase Eqiupment                50,000.00   360,239.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/26/2011   Aug 26,11    Grazina Seskevciute   Consulting Aug 26,11                 1,922.00    310,239.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/26/2011   Aug 26,11    Bart Barenburg        Consulting Aug 26,11                 2,313.00    308,317.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/26/2011   Aug 26,11    A.K.(Bram) Riemens    Consulting Aug 26,11                 1,925.00    306,004.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/26/2011   Aug 26,11    Hans Zuidema          Consulting Aug 26,11                 2,961.00    304,079.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/26/2011   Aug 26,11    Walther Roelen        Consulting Aug 26,11                 2,961.00    301,118.11   Bill   20000 2000-00-00 Accounts Payable

08/20/2011   Aug 20,11    SeeCubic B.V. i.o.    To Purchase 3D Samples & Eqiupment   75,000.00   298,157.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/19/2011   8/19/11      Grazina Seskevciute   Consulting 8/19/11                   1,922.00    223,157.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/19/2011   8/19/11      Bart Barenburg        Consulting 8/19/11                   2,313.00    221,235.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/19/2011   8/19/11      A.K.(Bram) Riemens    Consulting 8/19/11                   1,925.00    218,922.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/19/2011   8/19/11      Hans Zuidema          Consulting 8/19/11                   2,961.00    216,997.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/19/2011   8/19/11      Walther Roelen        Consulting 8/19/11                   2,961.00    214,036.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/12/2011   8/12/11      Bart Barenburg        Consulting 8/12/11                   2,313.00    211,075.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/12/2011   8/12/11      Grazina Seskevciute   Consulting 8/12/11                   1,922.00    208,762.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/12/2011   8/12/11      A.K.(Bram) Riemens    Consulting 8/12/11                   1,925.00    206,840.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/12/2011   8/12/11      Hans Zuidema          Consulting 8/12/11                   2,961.00    204,915.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/12/2011   8/12/11      Walther Roelen        Consulting 8/12/11                   2,961.00    201,954.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/05/2011   8/5/11       Grazina Seskevciute   Consulting 8/5/11                    1,922.00    198,993.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/05/2011   8/5/11       A.K.(Bram) Riemens    Consulting 8/5/11                    1,925.00    197,071.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/05/2011   8/5/11       Hans Zuidema          Consulting 8/5/11                    2,961.00    195,146.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/05/2011   8/5/11       Walther Roelen        Consulting 8/5/11                    2,961.00    192,185.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
08/01/2011   8/5/11       Bart Barenburg        Consulting 8/5/11                    2,313.00    189,224.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/29/2011   7/29/11      Grazina Seskevciute   Consulting 7/29/11                   1,922.00    186,911.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/29/2011   7/29/11      A.K.(Bram) Riemens    Consulting 7/29/11                   1,925.00    184,989.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/29/2011   7/29/11        Hans Zuidema          Consulting 7/29/11                       2,961.00    183,064.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/29/2011   7/29/11        Walther Roelen        Consulting 7/29/11                       2,961.00    180,103.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/22/2011   7/22/11        Grazina Seskevciute   Consulting 7/22/11                       1,922.00    177,142.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/22/2011   7/22/11        A.K.(Bram) Riemens    Consulting 7/22/11                       1,925.00    175,220.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/22/2011   7/22/11        Hans Zuidema          Consulting 7/22/11                       2,961.00    173,295.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/22/2011   7/22/11        Walther Roelen        Consulting 7/22/11                       2,961.00    170,334.11   Bill   20000 2000-00-00 Accounts Payable
             July 16,
07/16/2011   2011           SeeCubic B.V. i.o.    Samples-Equipment                        50,000.00   167,373.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/15/2011   7/15/11        Grazina Seskevciute   Consulting 7/15/11                       1,922.00    117,373.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/15/2011   7/15/11        A.K.(Bram) Riemens    Consulting 7/15/11                       1,925.00    115,451.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/15/2011   7/15/11        Walther Roelen        Consulting 7/15/11                       2,961.00    113,526.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/15/2011   7/15/11        Hans Zuidema          Consulting 7/15/11                       2,961.00    110,565.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/12/2011   7/8/2011       A.K.(Bram) Riemens    Consulting 7/8/2011                      1,925.00    107,604.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/12/2011   7/8/2011       Hans Zuidema          Consulting 7/8/2011                      2,961.00    105,679.11   Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/12/2011   7/8/2011       Walther Roelen        Consulting 7/8/2011                      2,961.00    102,718.11   Bill   20000 2000-00-00 Accounts Payable
                                                  Waltherus Roelen Trip to Philly July
07/12/2011   July 12,2011   Jamuna Travels, Inc   12,2011                                  3,090.00    99,757.11    Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/08/2011   7/8/2011       Grazina Seskevciute   Consulting 7/8/2011                      1,922.00    96,667.11    Bill   20000 2000-00-00 Accounts Payable
             Taipei May
07/07/2011   23 to June     A.K.(Bram) Riemens    Taipei May 23 to June 1,2011             344.43      94,745.11    Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/01/2011   7/1/11         A.K.(Bram) Riemens    Consulting 7/1/11                        1,925.00    94,400.68    Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/01/2011   7/1/11         Hans Zuidema          Consulting 7/1/11                        2,961.00    92,475.68    Bill   20000 2000-00-00 Accounts Payable
             Consulting
07/01/2011   7/1/11         Walther Roelen        Consulting 7/1/11                        2,961.00    89,514.68    Bill   20000 2000-00-00 Accounts Payable

06/30/2011   EM63011        SeeCubic B.V. i.o.                                             26,000.00   86,553.68    Bill   20000 2000-00-00 Accounts Payable

06/24/2011   June 24,11     Hans Zuidema          Hans Zuidema Travel expenses to Taiwan   531.71      60,553.68    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/24/2011   6/24/2011      Walther Roelen        Consulting 6/24/2011                     2,961.00    60,021.97    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/24/2011   6/24/2011      Hans Zuidema          Consulting 6/24/2011                     2,961.00    57,060.97    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/24/2011   6/24/2011      A.K.(Bram) Riemens    Consulting 6/24/2011                     1,925.00    54,099.97    Bill   20000 2000-00-00 Accounts Payable
             Declaration                          Declaration PCRTbox.xlsx
06/24/2011   PCRTbox.       Walther Roelen        Lab Equipment                            2,117.00    52,174.97    Bill   20000 2000-00-00 Accounts Payable
             4 Lanuch
06/22/2011   Notebook       A.K.(Bram) Riemens    4 Lanuch Notebook                        2,395.97    50,057.97    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/17/2011   6/17/11        Walther Roelen        Weekly Consulting 6/17/11                2,961.00    47,662.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/17/2011   6/17/11        Hans Zuidema          Weekly Consulting 6/17/11                2,961.00    44,701.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/17/2011   6/17/11        A.K.(Bram) Riemens    Weekly Consulting 6/10/11                1,925.00    41,740.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/10/2011   6/10/11        Walther Roelen        Consulting 6/10/11                       2,961.00    39,815.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/10/2011   6/10/11        Hans Zuidema          Consulting 6/10/11                       2,961.00    36,854.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/10/2011   6/10/11        A.K.(Bram) Riemens    Consulting 6/10/11                       1,925.00    33,893.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/03/2011   6/03/11        Walther Roelen        Consulting 6/03/11                       2,961.00    31,968.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/03/2011   6/03/11        Hans Zuidema          Consulting 6/03/11                       2,961.00    29,007.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
06/03/2011   6/03/11        A.K.(Bram) Riemens    Consulting 6/03/11                       1,925.00    26,046.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
05/27/2011   5/27/11        Walther Roelen        Consulting 5/27/11                       2,961.00    24,121.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
05/27/2011   5/27/11        Hans Zuidema          Consulting 5/27/11                       2,961.00    21,160.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
05/27/2011   5/27/11        A.K.(Bram) Riemens    Consulting 5/27/11                       1,925.00    18,199.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
05/18/2011   5/20/11      Hans Zuidema         weekly Consultin 5/19/11                           2,961.00             16,274.00   Bill   20000 2000-00-00 Accounts Payable
             Consulting
05/18/2011   5/20/11      Walther Roelen       weekly Consultin 5/19/11                           2,961.00             13,313.00   Bill   20000 2000-00-00 Accounts Payable
             Consulting
05/18/2011   5/20/11      A.K.(Bram) Riemens   weekly Consulting 5/19/11                          1,925.00             10,352.00   Bill   20000 2000-00-00 Accounts Payable
             Consulting
05/11/2011   5/12/11      Walther Roelen       Weekly Consulting fee 5/12/11                      2,961.00             8,427.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
05/11/2011   5/12/11      A.K.(Bram) Riemens   Weekly Consulting fee 5/12/11                      1,925.00             5,466.00    Bill   20000 2000-00-00 Accounts Payable
             Consulting
05/11/2011   5/12/11      Hans Zuidema         Weekly Consulting fees 5/12/11                     2,961.00             3,541.00    Bill   20000 2000-00-00 Accounts Payable
             CES- 3D
01/22/2011   expense      Hans Zuidema         CES- 3D expense                                    580.00               580.00      Bill   20000 2000-00-00 Accounts Payable
                                                                                $ 27,992,960.26   $   112,244,686.69


                                                                                Net Balance       $    84,251,726.43
